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               IN THE UNITED STATES DISTRICT COURT

            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA            :      CRIMINAL NO:______________

              v.                    :      DATE FILED:

BHASKAR SAVANI                      :      VIOLATIONS:
     a/k/a “Dr. B,”                        18 U.S.C. § 1962(d) (RICO
ARUN SAVANI                         :      conspiracy – 1 count)
NIRANJAN SAVANI                            18 U.S.C. § 371 (visa fraud
     a/k/a “Nin,”                   :      conspiracy - 1 count)
SUNIL PHILIP                               18 U.S.C. § 1546 (visa fraud – 5
     a/k/a “A. Philipose,”          :      counts)
AMEN DHYLLON                               18 U.S.C. § 371 - (obstruction of
     a/k/a “Dr. Amen,”              :      justice conspiracy – 1 count)
ALEKSANDRA RADOMIAK
                                           18 U.S.C. § 1349 (health care
     a/k/a “Ola,”                   :
                                           fraud conspiracy – 1 count)
JON JULIAN
VIVEK SAVANI                        :      18 U.S.C. § 1347 (health care fraud
BHARATKUMAR PARASANA                       – 15 counts)
     a/k/a “Kumar,”                 :      18 U.S.C. § 1956(h) (money
HITESHKUMAR GOYANI                         laundering conspiracy – 1
PIYUSHA PATEL                              count)
SUSAN MALPARTIDA                    :      18 U.S.C. § 1956 (money
                                           laundering – 9 counts)
                                    :      18 U.S.C. § 1957 (money
                                           laundering – 3 counts)
                                    :      18 U.S.C. § 371 (conspiracy to
                                           defraud the United States
                                    :
                                           Treasury – 1 count)
                                    :      18 U.S.C. § 1343 (wire fraud –
                                           3 counts)
                                    :      18 U.S.C. § 371 (conspiracy to
                                           distribute adulterated and
                                    :      misbranded device – 1 count)
                                           18 U.S.C. § 2 (aiding and
                                    :      abetting)
                                           Notices of forfeiture

                             INDICTMENT
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                                           COUNT ONE

                       CONSPIRACY TO COMMIT RACKETEERING
                                 18 U.S.C. § 1962(d)

THE GRAND JURY CHARGES THAT:

                At all times material to this indictment:

                1.      Defendants BHASKAR SAVANI, a/k/a “Dr. B,” ARUN SAVANI, and

NIRANJAN SAVANI, a/k/a “Nin,” were brothers who owned and controlled a multi-state

network of dental practices, related dental businesses, related non-dental businesses, and

significant real estate holdings. As described in detail below, defendants BHASKAR SAVANI,

ARUN SAVANI, NIRANJAN SAVANI, SUNIL PHILIP, a/k/a “A. Philapose,” ALEKSANDRA

RADOMIAK, a/k/a “Ola,” and AMEN DHYLLON, a/k/a “Dr. Amen,” and others both known

and unknown to the grand jury, were members and associates of a criminal organization that

engaged in criminal acts and other activities in the Eastern District of Pennsylvania, the District of

New Jersey, and elsewhere.

                                    The Racketeering Enterprise

                 2.     The criminal organization, including its leadership, members, and

associates, constituted an Enterprise as defined in Title 18, United States Code, Section 1961(4),

namely, a group of entities and individuals associated in fact and referred to in this indictment as

the “SAVANI GROUP.” The Enterprise constituted an ongoing organization whose members and

associates functioned as a continuing unit for a common purpose of achieving the objectives of

the Enterprise. The Enterprise was engaged in, and its activities affected, interstate and foreign

commerce.

                3.      The entities included in the SAVANI GROUP are: A+ Family Dental


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Care, A+ Family Dental Care PC, A-1 Iowa Dental PLLC, A-1 Enterprise LLC, A-1 Family

Dental Care PC, Advanced Family Dentistry PC, Advanced Family Smile Care PC, A+ Oral

Surgery Specialty Care PC, AAA Denta Lab LLC, AAA Signature Smile PC, Allied

Orthodontics, Allied Orthodontics PC, American Dental Management PC, American Dental

Management Group LLC, American Management Group, American Management Group LLC,

American Unity Dental, American Unity Dental PA, American Real Estate Group LLC, Denta

Depot LLC, Dentaweb LLC, Biotek, EZ Biotek LLC, Harleysville Real Estate Group LP,

Horsham Real Estate Group LP, Osseolink USA LLC, Presidential Plan LLC, Smile Krafters PC,

The Dental Future Center, and Whitehall Oral Surgery PC. These SAVANI GROUP entities were

owned and controlled by defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN

SAVANI, and were located in the Eastern District of Pennsylvania and elsewhere.

                    4.    At all times material to this indictment, Advantage Dental PC, Faces &

Braces Inc., Smilekrafters Dental LLC, and United Dentistry PC were owned by members of the

Enterprise and controlled by the SAVANI GROUP and defendants BHASKAR SAVANI, ARUN

SAVANI, and NIRANJAN SAVANI, and were located in the Eastern District of Pennsylvania.

                                      Roles of the Defendants

               5.        Defendant BHASKAR SAVANI owned and controlled SAVANI GROUP

dental practices and related dental companies, and he was a licensed dentist who was responsible

for running SAVANI GROUP dental practices and other related companies.

               6.        Defendant ARUN SAVANI owned and held a management role in

numerous SAVANI GROUP companies, as described in detail below, and was primarily

responsible for controlling the financial affairs and real estate of the SAVANI GROUP.



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               7.      Defendant NIRANJAN SAVANI owned and controlled SAVANI

GROUP dental practices in several states and related dental businesses, including dental supply

company Denta Depot LLC. Defendant NIRANJAN SAVANI was a licensed dentist who

practiced some dentistry.

               8.      Defendant SUNIL PHILIP was the outside accountant for the SAVANI

GROUP, as well as the personal accountant for defendants BHASKAR SAVANI, ARUN

SAVANI, and NIRANJAN SAVANI, and for Person #1, known to the grand jury, among others

both known and unknown to the grand jury.

               9.      Defendant AMEN DHYLLON, a/k/a “Dr. Amen,” was a dentist and

orthodontist who began working for the SAVANI GROUP in or about 2012.

               10.     Defendant ALEKSANDRA RADOMIAK, a/k/a “Ola,” was an employee

of the SAVANI GROUP initially employed as a foreign worker in a “specialty occupation” under

the H-1B visa program. Among other roles, she worked as a dental practice manager, held equity

interests in SAVANI GROUP companies, and over time, held a trusted role in the management

and operation of SAVANI GROUP dental practices.

                                         Co-conspirators

               11.     Person #1 began working for the SAVANI GROUP in or about 2007. The

SAVANI GROUP filed multiple petitions with United States Citizenship and Immigration

Services (“USCIS”) requesting that Person #1 be permitted to work for the SAVANI GROUP

under a specialty immigration program, referred to as the H-1B visa program which is discussed

further in paragraphs 18 through 24 of this indictment. Over time, Person #1 advanced within the

SAVANI GROUP to become its controller, and managed and controlled the transfer of money

through the SAVANI GROUP’s myriad bank accounts, opened bank accounts, prepared

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supporting documentation for fraudulent tax returns on behalf of SAVANI GROUP companies,

and managed spreadsheets tracking kickbacks paid by SAVANI GROUP H-1B employees,

among other job functions. Person #1 worked closely with, and at the direction of, defendants

BHASKAR SAVANI and ARUN SAVANI.

                12.    Person #2, known to the grand jury, began working for the SAVANI

GROUP in or about 2008. The SAVANI GROUP filed multiple petitions with USCIS requesting

that Person #2 be permitted to work for the SAVANI GROUP under the H-1B visa program. Over

time, Person #2 advanced within the SAVANI GROUP, and managed accounting for its real

estate and non-dental businesses and helped obtain bank loans and lines of credit on behalf of the

SAVANI GROUP. Person #2 worked closely with, and at the direction of, defendants

BHASKAR SAVANI and ARUN SAVANI.

                13.    Person #3, known to the grand jury, began working for the SAVANI

GROUP in or about 2005. The SAVANI GROUP filed petitions with USCIS requesting that

Person #3 be permitted to work for the SAVANI GROUP under the H-1B visa program. Person

#3 was an employee and partner dentist of the SAVANI GROUP. At the direction of defendants

BHASKAR SAVANI and ARUN SAVANI, Person #3 lied to managed care organizations

(“MCOs”) following the MCOs termination of defendant BHASKAR SAVANI’s Medicaid

contracts. Person #3 agreed to open “on paper” dental corporations of which he was the nominee

owner, including Smilekrafters Dental LLC, Advantage Dental PC, and United Dentistry PC. For

the purpose of falsely appearing to be independent of defendant BHASKAR SAVANI and the

SAVANI GROUP, Person #3 obtained Medicaid contracts for Smilekrafters Dental LLC,

Advantage Dental PC, and United Dentistry PC with MCOs and at locations where defendant

BHASKAR SAVANI and SAVANI GROUP practices had been terminated.

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                                    Purposes of the Enterprise

               14.    The purposes of the Enterprise included, but were not limited to, the

following:

                      a.       Enriching the members and associates by defrauding Medicaid

through a far-reaching, multi-faceted billing fraud scheme using a myriad of business entities,

some with nominee “owners” designed to conceal the members’ role in the fraud;

                       b.      Exploiting a workforce comprised of foreign nationals who were

permitted to work in the United States on H-1B visas sponsored by the Enterprise based on

fraudulent representations about the positions for which the foreign nationals would be

employed, and the amount which they would be paid. The foreign nationals were financially

indebted to the SAVANI GROUP, and were willing to aid in the commission of criminal acts at

the direction of members of the Enterprise to remain employed by the SAVANI GROUP and to

remain in the United States;

                      c.       Concealing and laundering fraud proceeds through a complex web

of financial transactions using a vast network of bank accounts;

                      d.       Evading tax obligations by failing to report taxable income,

inflating business expenses through a vast expense fraud scheme, and filing fraudulent tax

returns;

                      e.       Generating profits through the implantation in patients of prototype

dental devices that were not approved for human use; and

                      f.       Concealing the activities of the members and associates of the

Enterprise from law enforcement scrutiny.



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                                      Racketeering Conspiracy

               15.     From in or about February 2009 through in or about November 2021, in

the Eastern District of Pennsylvania, and elsewhere, defendants

                                    BHASKAR SAVANI,
                                        a/k/a “Dr. B,”
                                       ARUN SAVANI,
                                    NIRANJAN SAVANI,
                                          a/k/a “Nin,”
                                       SUNIL PHILIP,
                                     a/k/a “A. Philipose,”
                                     AMEN DHYLLON,
                                    a/k/a “Dr. Amen,” and
                                 ALEKSANDRA RADOMIAK,
                                          a/k/a “Ola,”

and other persons known and unknown to the grand jury, being persons employed by and

associated with the Enterprise, which engaged in, and the activities of which affected, interstate

and foreign commerce, knowingly and intentionally conspired with each other and other co-

conspirators known and unknown to the grand jury, to violate Title 18, United States Code,

Section 1962(c), that is, to conduct and participate, directly and indirectly, in the conduct of the

affairs of the Enterprise, through a pattern of racketeering activity, as defined in Title 18, United

States Code, Sections 1961(1) and 1961(5), consisting of multiple acts indictable under the

following statutes:

                       a.      Title 18, United States Code, Section 1546 (relating to fraud and

misuse of visas, permits, and other documents);

                       b.      Title 18, United States Code, Section 1343 (relating to wire fraud);

                       c.      Title 18, United States Code, Section 1956 (relating to the

        laundering of monetary instruments);


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                        d.     Title 18, United States Code, Section 1957 (relating to engaging in

        monetary transactions in property derived from specified unlawful activity); and

                        e.     Title 18, United States Code, Section 1341(relating to mail fraud).

                16.     It was part of the conspiracy that each defendant agreed that a conspirator

would commit at least two acts of racketeering activity in the conduct of the affairs of the

Enterprise.

                                     MANNER AND MEANS

                17.     The manner and means by which the defendants and their coconspirators

agreed to conduct the affairs of the Enterprise included the following, among others:

                        a.     making false representations to obtain visas for foreign nationals to

work for the SAVANI GROUP to create a compliant workforce that was paid less than

prevailing salary rates in the United States;

                        b.     fraudulently obtaining Medicaid contracts by appointing dentists,

who worked as employees or contractors of dental practices controlled by the Enterprise, as

nominee owners of the practices;

                        c.     submitting claims to Medicaid using the National Provider

Identification (‘NPI”) 1 of a dentist who was physically outside of the United States, and billing

for dental services performed by dentists not credentialed to provide Medicaid dental services in

Pennsylvania;




        1
               An NPI number is a unique, ten-digit, numeric identifier issued to healthcare
providers in the United States by the Centers for Medicare and Medicaid Services. NPI numbers
are used by patients and health insurance providers on Medicare and Medicaid claim forms to
identify those who provided the medical service.
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                        d.      laundering the proceeds of the health care fraud scheme through

 multiple bank accounts to conceal their illicit profits;

                        e.      submitting fraudulent and false tax returns to understate the actual

 income of the members; and

                        f.      circumventing Food and Drug Administration (“FDA”) regulatory

 requirements and defrauding patients by placing unapproved dental devices in patients without

 their knowledge and informed consent.

                                             The Schemes

                                       The Visa Fraud Scheme

                18.     The “H-1B Specialty (professional) Workers” (“H-1B”) program allowed

an employer to temporarily employ a foreign worker in the United States on a nonimmigrant basis

in a “specialty occupation.”

                19.     A “specialty occupation” required the theoretical and practical application

of a body of specialized knowledge and a bachelor’s degree or the equivalent in the specific

specialty (i.e. science, medicine, health care, education, or technology). Current laws limited the

number of foreign workers who could be issued an H-1B visa or otherwise be provided H-1B

status.

                20.     Each employer seeking to employ an H-1B nonimmigrant was required to

submit a completed Labor Condition Application for Nonimmigrant Workers (Form ETA-9035)

(“LCA”) to the United States Department of Labor (“USDOL”), and Petition for Nonimmigrant

Worker (Form I-129) (“I-129 Petition”) to USCIS. Both the LCA and I-129 Petition required the

employer to certify under the penalty of perjury: the employer, the type of work the worker would

perform, the location of that work, the worker’s wages, and other relevant information.

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                21.     In order to avoid an adverse effect upon workers within the United States,

the employer using the H-1B program was required to certify, among other things, the employer,

the wage rate, the work location, and the prevailing wage for the work location for the occupation

for which the nonimmigrant worker was being employed as part of the completion of the LCA.

                22.     The H-1B certification was valid for a period of employment of up to

three years. The employer could thereafter seek an extension of this status, for up to a maximum

continuous period of six years, unless USCIS granted a further extension. After the H-1B visa

expired, the foreign worker had to remain outside the United States for one year before another I-

129 Petition could be approved.

                23.     To hire a foreign worker on an H-1B visa, an employer must first have had

a job available that met certain criteria, including that the job must have been a professional

position that required, at a minimum, a bachelor’s degree in a specialized field.

                24.     The employer must also have taken certain steps as part of the H-1B

application process, including:

                        a.        The employer must have submitted to the United States

Department of Labor Employment and Training Administration (“USDOL ETA”) a completed

LCA. The completed LCA contained forms that required the employer to make several

attestations regarding the nature of the employment position at issue, the number of employees

needed, the period of employment, the work location, and the wage rate. The LCA forms also

contained a statement warning the official for the petitioning employer that it was a violation of

federal law to make false statements on the forms. The official for the petitioning employer was

required to sign the forms before they were submitted to the USDOL.



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                       b.        Within one working day of the filing of the LCA, the petitioning

employer was required to make the LCA and necessary supporting documentation available for

public examination at the employer’s principal place of business in the United States and/or the

place where the foreign national was to be employed.

                       c.        If the LCA was approved by USDOL, the employer was required

to submit a copy of the approved LCA to USCIS along with a completed Form I-129 Petition

requesting H-1B classification. The I-129 Petition required the employer to provide information

about the company, the foreign beneficiary, and the proposed employment position. With regard

to the employment position, the employer had to include the employer, job title, work location,

wage rate, and the dates of intended employment. The official for the employer was required to

sign the form, under penalty of perjury, and attest that all information submitted with the I-129

Petition was true and correct.

               25.     From in or about February 2009 through in or about October 2020, the

SAVANI GROUP, and defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN

SAVANI, and VIVEK SAVANI (charged elsewhere in this indictment), BHARATKUMAR

PARASANA (charged elsewhere in this indictment), HITESHKUMAR GOYANI (charged

elsewhere in this indictment), PIYUSHA PATEL (charged elsewhere in this indictment), and

others known and unknown to the grand jury, knowingly engaged in a conspiracy to commit visa

fraud.

               26.     In furtherance of the conspiracy, the SAVANI GROUP recruited certain

workers from India and elsewhere to work in the United States on an H-1B visa. However, the

SAVANI GROUP never intended to hire the recruits for a position that was eligible for an H-1B

visa. Instead, the SAVANI GROUP negotiated with the recruits to accept a position that was not

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eligible for an H-1B visa, with a plan to submit false information to USCIS and USDOL. After a

particular recruit and the SAVANI GROUP agreed to the terms of the position, the SAVANI

GROUP, with the recruit’s help, would prepare the LCA, I-129 Petition, and other materials for

submission.

                27.      To secure H-1B visas, the SAVANI GROUP knowingly submitted false

statements to USDOL and USCIS, which included the recruits’ offered job title and duties in a

“specialty occupation,” which made the job eligible under the H-1B visa program, such as a

chemist, pharmaceutical researcher, business analyst, software developer, programmer, or other

job. This was notwithstanding that recruits’ true job titles and duties would be for a non-technical

position like a dental office manager, maintenance worker, warehouse worker, or other job. Other

SAVANI GROUP false statements on the LCAs and I-129 Petitions included those related to the

recruits’ qualifications, intended employer, intended work location, and wages. Once a particular

recruit’s LCA and I-129 Petition were approved, the recruit would enter the United States (if not

already in the United States) to work for the SAVANI GROUP.

               28.       Once onboarded, typically the SAVANI GROUP paid the H-1B employee

(“H-1B employee”) a wage equal to the H-1B-required “prevailing wage” with a W-2 issued by

the company that petitioned the H-1B employee. The SAVANI GROUP then required H-1B

employees to pay back, or kick back, wages to conceal that these employees were paid less than

the “prevailing wage.”

                29.      In addition, the SAVANI GROUP generally required its H-1B employees

to pay certain visa-related fees that, under federal law, could not be charged to the H-1B

employee. Moreover, the SAVANI GROUP even required some of its H-1B employees to pay the

payroll tax portion of their W-2 wages.

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                30.    The SAVANI GROUP also directed certain H-1B employees to omit

information or lie to government officials if there was any inquiry about the H-1B employee’s

employment with the SAVANI GROUP.

                31.    In some instances, the SAVANI GROUP hired an H-1B employee’s

spouse to work at the SAVANI GROUP “under the table.” One way the SAVANI GROUP paid a

spouse was by reducing the amount the H-1B employee was required to pay back, or kick back, to

the SAVANI GROUP.

                32.    The SAVANI GROUP company EZ Biotek LLC (hereinafter “EZ

Biotek”) played a central role in the visa fraud scheme. The SAVANI GROUP purported that EZ

Biotek was a chemical, pharmaceutical, and scientific company. In actuality, EZ Biotek was

primarily a shell company used to further the SAVANI GROUP’s visa fraud scheme.

                33.    In or about 2012, defendants BHASKAR SAVANI, ARUN SAVANI, and

NIRANJAN SAVANI created physical office space for EZ Biotek on the second floor of the

SAVANI GROUP’s corporate headquarters located at 401 Commerce Drive, Fort Washington,

Pennsylvania. The SAVANI GROUP filled the office with older lab equipment that served no

purpose other than to make the EZ Biotek office appear to be a working scientific lab in order to

deceive government officials about the true occupation, employer, and work address for certain

H-1B employees.

                34.    Over the course of several years after the EZ Biotek office was opened,

defendant ARUN SAVANI directed certain H-1B employees to regularly visit the EZ Biotek

office to deceive government officials who might ask questions about it.

                35.    In or about 2012, defendant ARUN SAVANI convened a meeting of

certain SAVANI GROUP H-1B employees. At the meeting, defendant ARUN SAVANI

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expressed concern that government authorities could discover the SAVANI GROUP’s H-1B

fraud scheme and directed H-1B employees to refrain from paying back, or kicking back, wages

by check, and to instead pay those wages in cash to Person #1 in the SAVANI GROUP’s

accounting department.

                 36.    In or about 2012, defendant ARUN SAVANI directed the SAVANI

GROUP to issue email addresses that included the domain name “ezbiotek” to certain H-1B

employees purportedly employed by EZ Biotek. This was also done to deceive government

officials.

                 37.    The SAVANI GROUP submitted LCAs and I-129 Petitions sponsoring at

least 15 employees for H-1B visas, in which defendants BHASKAR SAVANI, ARUN SAVANI,

or NIRANJAN SAVANI made false statements related to one or more of the following: (1) the

H-1B employee’s true employer; (2) the H-1B employee’s true work location; (3) the H-1B

employee’s true job title and responsibilities; and (4) the H-1B employee’s true wages.

                 38.    Related to the visa fraud, defendants BHASKAR SAVANI and ARUN

SAVANI, along with defendant SUSAN MALPARTIDA (charged elsewhere in this indictment),

and others, conspired to obstruct a federal grand jury investigation pending in the Eastern District

of Pennsylvania. In or about November 2018—only weeks after a court-authorized search of

SAVANI GROUP offices—defendant ARUN SAVANI instructed Person #25, known to the

grand jury, to encourage employees of the SAVANI GROUP’s American Unity Dental office in

New Jersey to conceal from government officials that Person #25 was an office manager for

American Unity Dental office in New Jersey, rather than a chemist for American Management

Group PC (“AMG PC”) in Fort Washington, Pennsylvania as described in his I-129 Petition.

Person # 25 held a meeting at the Clifton, New Jersey office and asked all the employees not to

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disclose to others that he was the regional manager, and that he primarily worked in New Jersey.

Instead, Person #25 asked this group to falsely say, if asked, that he worked on “dental materials,”

or “dental molds” (i.e., chemistry-related) and worked primarily at the SAVANI GROUP’s

headquarters in Fort Washington, Pennsylvania. The employees generally agreed.

                39.     On another occasion, defendants BHASKAR SAVANI and ARUN

SAVANI instructed Person #25 not to disclose his actual occupation or work location to

government officials.

                40.     In or about March 2020, USCIS officers conducted an administrative site

visit at the Clifton, New Jersey office and questioned the office coordinator Person #5, known to

the grand jury, and the receptionist, defendant SUSAN MALPARTIDA. Person #5 generally

followed Person #25’s instructions and made false statements to the officers about Person #25’s

actual occupation and primary worksite.

                41.     In or about July 2020, USCIS sent AMG PC a Notice of Intent to Revoke

Person # 25’s H-1B visa. In response, AMG PC submitted an affidavit from each of Person #5,

Person #25, and defendant SUSAN MALPARTIDA, who all made false statements about Person

#25’s employment with the SAVANI GROUP.

                42.     On or about May 14, 2021, USCIS ordered that Person # 25's I-129

Petition be revoked.

                43.     In or about August 2021, defendant SUSAN MALPARTIDA appeared

before a federal grand jury in the Eastern District of Pennsylvania and falsely swore under oath

that Person #25 was a chemist who worked on “polymers” and that generally she had never seen

him complete management duties.



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                               The Health Care Wire Fraud Scheme

                44.    The Medicaid program was a health insurance program established by

Congress under Title XIX of the Social Security Act of 1965 that provided health insurance

coverage to individuals who qualified under a “categorically needy” program or by meeting the

conditions to be considered “medically needy.” Recipients of medical services, including dental

services, were referred to as Medicaid “recipients” or “beneficiaries.” Medicaid was overseen by

the Centers for Medicare and Medicaid Services (“CMS”), an agency within the United States

Department of Health and Human Services (“HHS”).

                45.    The Medicaid program was jointly financed by the federal and state

governments and administered at the state level. Medicaid provided health insurance and

prescription coverage for many low-income individuals; offered long-term care assistance to

individuals over the age of 65 and individuals with disabilities; covered gaps in the Medicare

program; and funded institutions that serve a disproportionate number of low-income patients

with special needs. The federal government reimbursed states for a portion of the cost of their

Medicaid programs depending on the state's per capita income. Dental services were partially

covered by Medicaid.

                46.    Medicaid was a “health care benefit program” as defined by Title 18,

United States Code, Section 24(b), and a “Federal health care program,” as defined by Title 42,

United States Code, Section 1320a-7b(f).

                47.    The Pennsylvania Medicaid program provided basic medical coverage,

including dental coverage, for low-income, disabled, and elderly persons. The federal government

funded a significant portion of the Pennsylvania Medicaid program while the remaining balance

was funded by the Commonwealth of Pennsylvania. The program was administered by the

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Commonwealth of Pennsylvania.

                  48.   All eligible Medicaid beneficiaries presenting for services in Pennsylvania

received Medical Assistance (“MA”) services through either the fee-for-service (“FFS”) or the

managed care delivery system. The FFS system provided payment on a per-service basis for

health care services to eligible Medicaid beneficiaries. Under the managed care delivery system,

Medicaid beneficiaries received health care through a managed care organization (“MCO”) under

contract with the Pennsylvania Department of Human Services or the county government.

                  49.   MCOs #1, #2, and #3, known to the grand jury, were contracted by the

Pennsylvania Department of Human Services to administer the Pennsylvania Medicaid dental

program. In turn, these MCOs contracted with Third Party Administrators (“TPAs”) #1, #2, and

#3, known to the grand jury, to assist the MCOs in administering the Pennsylvania Medicaid

dental program.

                  50.   The FFS program covered: (1) MA beneficiaries who were newly eligible

for Medicaid and in the process of selecting an MCO to serve them; (2) beneficiaries

institutionalized for more than 30 days; and (3) beneficiaries aged 21 and older who were dually

eligible for Medicare 2 and Medicaid. The MCO program covered the remainder of Medicaid

beneficiaries who were eligible for MA services and had selected an MCO to serve them. Most of

the MA population was enrolled under the MCO program.

                  51.   Under the FFS program, after performing qualifying dental procedures to

Medicaid recipients, a provider would submit electronic claims to the Pennsylvania Department

of Human Services Provider Reimbursement and Operations Management Identity System



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                Medicare is federally funded program that provided free or below-cost health care
benefits to certain individuals, primarily the elderly, blind, and disabled.
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(“PROMISe”) using a dentist’s NPI.

                52.       For recipients enrolled with an MCO, after providing qualifying dental

services to Medicaid recipients, a provider would submit electronic or paper claims using the

approved method designated by a particular MCO.

                53.       In Pennsylvania, MCO #1 serviced dental patients in the Health Choices

Lehigh/Capital Region, which included the following counties: Northhampton, Lehigh, Berks,

Lancaster, Lebanon, Dauphin, York, Perry, Cumberland, Adams, Franklin, Huntingdon, and

Fulton. MCO #1 used TPAs #1 and #2 to help administer the Medicaid program in this region.

                54.       In Pennsylvania, MCO #2 serviced dental patients in the Health Choices

Southeast Region, which included the following counties: Bucks, Chester, Montgomery,

Delaware, and Philadelphia. MCO #2 used TPAs #1 and #2 to help administer the Medicaid

program in this region.

                55.       In Pennsylvania, MCO #3 serviced dental patients in the Health Choices

Southeast Region, which included the following counties: Bucks, Chester, Montgomery,

Delaware, and Philadelphia. MCO #3 used TPA #3 to help administer the Medicaid program in

this region.

                56.       Claims submitted electronically to MCO #1 and MCO #2 through TPA #1

were submitted through an on-line portal and were electronically routed through a server located

in Charlestown, Massachusetts.

                57.       Claims submitted electronically to MCO #1 and MCO #2 through TPA #2

were submitted through an on-line portal and were electronically routed through a server located

in Menomonee Falls, Wisconsin.

                58.       Claims submitted electronically to MCO #3 through TPA #3 were

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submitted through an on-line portal and were electronically routed through servers located in

Maryland and Virginia.

                             Provider Credentialing and Reimbursement

                59.      In order to render MA services in Pennsylvania, the provider was required

to enroll in the Pennsylvania Medicaid program through a credentialing process. Dentists who

enrolled in Pennsylvania Medicaid and sought to provide covered dental services to Medicaid

recipients were known as “Providers.” To be eligible to enroll as a provider, practitioners in

Pennsylvania had to be licensed and currently registered by the appropriate state agency. In the

provider application, dental providers indicated whether, among other possible categories, they

were individual providers or group practice providers. Out-of-state practitioners had to be

licensed and currently registered by the appropriate agency in their state. Upon successful

enrollment with the Pennsylvania Medicaid program, a provider obtained a “PROMISe”

identification number.

                60.      Once enrolled, MA providers received a letter confirming their

enrollment, notifying them to follow state and federal regulations, and directing them to the

Pennsylvania Department of Human Services website, www.dhs.pa.gov, for necessary forms,

regulations, provider handbooks and billing information, among other information. The

Pennsylvania Department of Human Services website contained detailed information for dental

MA providers.

                61.      If an enrolled MA provider wanted to participate in an MCO network, the

provider had to contact the participating MCO(s) directly. To be eligible to be credentialed by an

MCO, the provider must already have been enrolled in the PA Medicaid program and must have

had a PROMISe identification number. A provider could enroll with one or more MCOs. To

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enroll with an MCO, an MA provider was required to have: (a) submitted documentation to the

MCO verifying that they were an enrolled MA provider with the Commonwealth of

Pennsylvania, and (b) agreed to meet the specific requirements and conditions for network

participation set forth by the MCO. To submit claims and receive reimbursement for MA services

provided, an individual provider had to be credentialed by the MCO at the specific location(s)

where they rendered services and where a particular service being billed for was performed.

                62.     Upon credentialing with an MCO, participating providers agreed to

comply, and to ensure that providers with whom they contracted complied, with laws applicable

to individuals and entities receiving federal funds, as well as all other applicable state and federal

laws and regulations, including but not limited to those governing participation in the MA

Program pursuant to 42 C.F.R. 422.504(h) and 42 C.F.R. 422.504(i)(4)(v).

                63.     Providers who rendered services under FFS had to be credentialed with

Pennsylvania Medicaid before rendering services. In turn, if services were provided through an

MCO, the contracted MCOs additionally required providers to be credentialed with the

participating MCO before they rendered any services to MA beneficiaries.

                64.     A Medicaid claim was required to set forth, among other things, the

patient’s name and Medicaid identification number, the services performed for the patient, the

date the services were provided, the cost of the services, the name and NPI number of the dentist

who rendered the services, and the location where the services were rendered. Upon submitting a

claim to Medicaid, a provider certified, among other things, that the information submitted

regarding claims or encounter data was true, accurate and complete; and that the claim or

encounter data submitted was prepared in compliance with the laws and regulations governing

Medicaid and the Commonwealth of Pennsylvania.

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                   65.   By directly or indirectly receiving state and federal program funds, the

MCOs and individual MA health care providers were subject to all applicable federal and/or state

laws and regulations relating to the Pennsylvania Medicaid program. Violations of applicable

federal and/or state laws and regulations constituted fraud or abuse against the MA program.

Pursuant to statute, including 55 Pa. Code §1101.75, providers were prohibited from directly or

indirectly mispresenting, among other things, the description of the services provided, the date of

service, and/or identity of the recipient, or the identity of the attending, prescribing, referring or

actual provider.

                   66.   Pursuant to the federal and state laws and regulations governing the

provision of MA dental services in the Commonwealth of Pennsylvania, and with very limited

exception, a credentialed dental provider could not “supervise” an uncredentialed dentist in

performing MA dental services and then seek reimbursement for the services performed by the

uncredentialed provider under the credentialed provider’s PROMISe and NPI numbers. All

providers of MA dental services in the Commonwealth of Pennsylvania had to be credentialed

before they could perform an MA service and bill for MA services provided under their NPI

number.

                   67.   On or about October 31, 2012 through on or about November 9, 2012,

MCO #1 (through TPA #1) and MCO #2, provided notice to defendant BHASKAR SAVANI,

and SAVANI GROUP controlled dental practices, specifically Allied Orthodontics PC (“Allied

Orthodontics”) and A+ Oral Surgery Specialty Care PC (“A+ Oral Surgery”), American Family

Dental Care PC (“AFDC”), Advanced Family Dentistry, and Smile Krafters PC, that their

Medicaid contracts with the MCOs would be terminated effective between on or about December

31, 2012 and on or about January 7, 2013. The terminations were effected following MCO audits

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of SAVANI GROUP dental practice billings.

               68.    After the termination of SAVANI GROUP dental practices, Person #3 and

defendant AMEN DHYLLON, using companies they incorporated to appear to be independent of

defendant BHASKAR SAVANI and the SAVANI GROUP, fraudulently obtained Medicaid

insurance contracts on behalf of the SAVANI GROUP that defendant BHASKAR SAVANI and

the SAVANI GROUP could not obtain under their true identities.

               69.    As described below, the SAVANI GROUP, through defendants

BHASKAR SAVANI, ARUN SAVANI, NIRANJAN SAVANI, and AMEN DHYLLON, and

Person #3, and others known and unknown to the grand jury, engaged in a pervasive scheme to

defraud Medicaid though nominee company ownership. After defendant BHASKAR SAVANI

and his affiliated SAVANI GROUP dental practices had their Pennsylvania Medicaid contracts

terminated by MCO #1 and MCO #2, defendants BHASKAR SAVANI, ARUN SAVANI, and

NIRANJAN SAVANI devised a scheme to use nominee owners of “on paper” dental practices to

obtain and continue to profit from Medicaid contracts with MCO #1 and MCO #2 despite having

been terminated from contracts with those MCOs.

               70.    Defendant SUNIL PHILIP opened companies and prepared tax returns for

entities involved in the scheme at the direction of defendant ARUN SAVANI, and with the

assistance of Person #1 and others both known and unknown to the grand jury.

               71.    Through use of Person #3’s nominee corporation, Smilekrafters Dental

LLC, the SAVANI GROUP continued to profit from Medicaid contracts with MCO #1 despite

that the SAVANI GROUP’s dental practices were prohibited from billing Medicaid through

MCO #1 after on or about December 31, 2012. Once the SAVANI GROUP realized the nominee

company scam went undetected, the SAVANI GROUP used additional nominee companies

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incorporated by Person #3 and defendant AMEN DHYLLON to obtain additional Medicaid

contracts with MCO #1 and MCO #2, to credential their existing locations under these

fraudulently obtained contracts, and to continue to profit from these contracts despite the

terminations through at least in or about November 2021.

                72.     As part of this scheme, the SAVANI GROUP, at the direction of

defendants BHASKAR SAVANI, ARUN SAVANI, NIRANJAN SAVANI, and AMEN

DHYLLON, and with the assistance of Person #1 and Person #3, other associates of the

Enterprise, and others both known and unknown to the grand jury, caused Medicaid contracts to

be fraudulently secured and claims to be submitted to MCO #1 and MCO #2 for Smilekrafters

Dental LLC, Advantage Dental, and Faces & Braces (“F&B”) to conceal defendant BHASKAR

SAVANI’s and the SAVANI GROUP’s control of these companies. In doing so, the SAVANI

GROUP continued to profit from the Medicaid contracts despite the terminations.

                73.     Although Smilekrafters Dental LLC and Advantage Dental were owned

“on paper” by Person #3, and F&B was owned “on paper” by defendant AMEN DHYLLON, the

practices were controlled by the SAVANI GROUP. The “on paper” corporations were created at

the direction of defendants BHASKAR SAVANI and ARUN SAVANI for the sole purpose of

fraudulently obtaining Medicaid contracts with MCO #1 and MCO #2.

                74.     Proceeds of this scheme were diverted for the personal use and benefit of

associates of the Enterprise including defendants BHASKAR SAVANI, ARUN SAVANI and

NIRANJAN SAVANI, after being transferred through numerous SAVANI GROUP controlled

bank accounts to conceal the source of the illicit funds.

                75.     From in or about September 2014 through in or about September 2018, the

SAVANI GROUP, through Smilekrafters Dental LLC and Advantage Dental, billed MCO #1 and

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MCO #2 approximately $175 million for MA services provided and were paid approximately $40

million by Medicaid based on fraudulently obtained contracts.

                76.     From in or about April 2013 through in or about December 2021, the

SAVANI GROUP, through F&B, billed MCO #1 and MCO #2 at least approximately $190

million for MA services provided and was paid at least approximately $40 million by Medicaid

based on fraudulently obtained contracts.

                                      Supervisory Billing Fraud

                77.     To allow dentists to begin billing for Medicaid services as soon as they

started working for the SAVANI GROUP, and to bypass the somewhat lengthy process for being

credentialed both by the Commonwealth of Pennsylvania and an MCO to become legally eligible

to serve the MA population, the SAVANI GROUP had a long-time practice of defrauding

Medicaid through illegal “supervisory billing.”

                78.     Through this unlawful practice, and at the direction of defendants

BHASKAR SAVANI and ARUN SAVANI, and with the assistance of defendant

ALEKSANDRA RADOMIAK, and others both known and unknown to the grand jury, the

SAVANI GROUP allowed uncredentialed dentists to service MA patients and to bill for their

services as if the services were provided by a credentialed dentist, by billing the services using the

NPI number of a credentialed dentist who did not perform the MA service. In some cases, the

service agreement between the SAVANI GROUP and the “supervisory” dentist acknowledged the

“supervisory billing” arrangement and provided for the “supervisory” dentist to receive as a

kickback a portion of the gross receipts of the uncredentialed dentist billing under their NPI

number.

                79.     Defendants NIRANJAN SAVANI and AMEN DHYLLON, and Person #3

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were dentists who allowed their NPI numbers to be used for “supervisory billing.”

                80.    Through this practice, SAVANI GROUP dentists, including defendant

NIRANJAN SAVANI, had MA services billed under his NPI number for service dates on which

they were physically outside the United States.

                81.    MCO #3 was a managed care organization in Pennsylvania that helped

administer the Pennsylvania Medicaid program. It worked with TPA #3.

                82.    MCO #3 contracted with SAVANI GROUP dental practice American

Family Dentistry (“AFD”), and defendant NIRANJAN SAVANI was credentialed under this

contract to perform MA services.

                83.    As part of the “supervisory billing” fraud scheme, in which services

performed by one dentist were billed under the NPI number of a “supervising” dentist either

because the dentist actually performing the services was uncredentialed or because the

“supervising” dentist had a more lucrative fee arrangement, SAVANI GROUP dental companies

billed the Pennsylvania Medicaid program under the AFD contract with MCO #3 for MA services

provided under the NPI number of defendant NIRANJAN SAVANI, who was traveling outside of

the United States when the services were allegedly performed.

                84.    From in or about January 2014 through in or about March 2018, the

SAVANI GROUP dental companies listed below billed for services under defendant NIRANJAN

SAVANI’s NPI number while defendant NIRANJAN SAVANI was outside of the United States:

   Billing Entity                           Practice NPI        Owner
   A+ Family Dental Care, PC                1962669507          BHASKAR SAVANI
   A-1 Family Dental Care, PC               1336306729          BHASKAR SAVANI
   Advanced Family Dentistry, PC            1508023995          BHASKAR SAVANI
   American Family Dental Care, PC          1154588549          BHASKAR SAVANI



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                85.     From in or about January 2014 through in or about March 2018,

approximately 2,587 claims for dental services were submitted to Pennsylvania Medicaid, seeking

reimbursement of approximately $300,000, and falsely claiming that defendant NIRANJAN

SAVANI was the dentist who performed services for MA beneficiaries; when defendant

NIRANJAN SAVANI was not in the United States at the time the billed procedures were

performed.

                                  The Money Laundering Scheme

                86.     From at least in or about 2013 through the present, the SAVANI GROUP

controlled more than 300 bank accounts related to the operation of their businesses and the

perpetration of their fraud schemes. A small number of the accounts were personal bank accounts,

while the majority of bank accounts were tied to the SAVANI GROUP’s numerous business

entities.

                87.     Person #1, and other individuals who worked with Person #1 and for the

SAVANI GROUP, and who are known to the grand jury, were directed by defendants

BHASKAR SAVANI and ARUN SAVANI to transfer the fraud proceeds deposited in the

Smilekrafters Dental LLC, Advantage Dental, and F&B bank accounts to other SAVANI GROUP

-controlled bank accounts. Through these transactions, the SAVANI GROUP engaged in

monetary transactions of criminally-derived property in amounts greater than $10,000 and

concealed the nature, location, source, ownership and control of the funds to further the interests

of the Enterprise and for the personal use of defendants BHASKAR SAVANI, ARUN SAVANI,

and NIRANJAN SAVANI.

                88.     In furtherance of the money laundering conspiracy, defendant SUNIL

PHILIP, Person #1 and Person #2, and others known and unknown to the grand jury, at the

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direction of defendants BHASKAR SAVANI and ARUN SAVANI, registered, opened and

controlled numerous entities and more than 300 bank accounts at Conestoga Bank, Beneficial

Bank and TD Bank NA, including, but not limited to, the following:

  Account Name                                Bank                           Account Number
                                                                             ending in
  Smilekrafters Dental LLC                    Conestoga/Beneficial Bank              1223
                                              TD Bank NA                             4905
  Smile Krafters PC                           Conestoga/Beneficial Bank              1425
  Advantage Dental PC                         TD Bank NA                             4880
  Faces & Braces Inc.                         Conestoga/Beneficial Bank              3146
                                              TD Bank NA                             4939
  United Dentistry PC                         Conestoga/Beneficial Bank              0657
                                              TD Bank NA                             4947
  American Dental Management PC               Conestoga/Beneficial Bank              9717
                                              TD Bank NA                             6481
  American Dental Management Group LLC        Conestoga/Beneficial Bank              0350
                                              TD Bank NA                             6499
  Allied Orthodontics PC                      Conestoga/Beneficial Bank              1160
  A+ Oral Surgery Specialty Care PC           Conestoga/Beneficial Bank              2971
  American Family Dental Care PC              Conestoga/Beneficial Bank              7365
  Lancaster Dental Arts PC                    Conestoga/Beneficial Bank              1626
  A+ Family Dental Care PC                    Conestoga/Beneficial Bank              6759
  A + Pediatric Dental Specialty Care PC      Conestoga/Beneficial Bank              7415
  Advanced Family Smile Care PC               Conestoga/Beneficial Bank              4145
  Denta Depot LLC                             Conestoga/Beneficial Bank              0664
                                              TD Bank NA                             5531
  American Management Group LLC               Conestoga/Beneficial Bank              1914
  Dentaweb LLC                                Conestoga/Beneficial Bank              9495
                                              TD Bank NA                             6018
  A-1 Enterprise LLC                          Conestoga/Beneficial Bank              4012
                                              TD Bank NA                             1813
  Bhaskar Savani                              TD Bank NA                             2329
  Bhaskar Savani and spouse                   Conestoga/Beneficial Bank              3923
  Arun Savani                                 Conestoga/Beneficial Bank              3907
                                              TD Bank NA                             2311
  Niranjan Savani and spouse                  Conestoga/Beneficial Bank              3949
  Niranjan Savani                             TD Bank NA                             2353

               89.      Conestoga Bank, Beneficial Bank, and TD Bank were insured by the

Federal Deposit Insurance Corporation.

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                90.      It was part of the conspiracy that, during all times relevant to the

conspiracy, Person #1 had access to all bank accounts in the name of Smilekrafters Dental LLC,

Smile Krafters PC, Advantage Dental PC, F&B, United Dentistry, ADM PC, and ADMG LLC.

Other persons who worked with Person #1 and for the SAVANI GROUP, and who are known to

the grand jury, also had access to these bank accounts and often used Person #1’s credentials to

log into the accounts.

                91.      It was part of the conspiracy that the SAVANI GROUP used its

headquarters located in Fort Washington, Pennsylvania, as the registered address associated with

the bank accounts for Smile Krafters PC, United Dentistry, ADM PC, and ADMG LLC.

                92.      At the direction of defendants BHASKAR SAVANI and ARUN

SAVANI, Person #1, and others who worked with Person #1 and for the SAVANI GROUP and

who are known to the grand jury, conducted most, if not all, of the monetary transfers out of the

Smilekrafters Dental LLC, Smile Krafters PC, Advantage Dental, United Dentistry, and F&B,

accounts and into the other SAVANI GROUP-controlled accounts. Defendants BHASKAR

SAVANI and ARUN SAVANI directed these transfers while located in the SAVANI GROUP

headquarters in Fort Washington, Pennsylvania. Further, Person #1, and the others who worked

with Person #1 and for the SAVANI GROUP, had offices at the headquarters location. The

majority of monetary transfers were made from Fort Washington, Pennsylvania headquarters.

                         Smilekrafters Dental LLC and Advantage Dental PC

                93.      Starting in or about January 2013 through in or about May 2018,

Smilekrafters Dental LLC received insurance claim reimbursements, including Medicaid

reimbursements through the Smilekrafters Dental LLC contract with MCO #1. These

reimbursements were proceeds from the SAVANI GROUP’s health care wire fraud scheme.

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MCO #1, through TPA #2, deposited Medicaid reimbursements into Smilekrafters Dental LLC

accounts ending in 1223 and 4905. Though Person #3, the “on paper” owner of Smilekrafters

Dental LLC, was an authorized signer on these bank accounts, the accounts were controlled by

the SAVANI GROUP and Person #3 never exercised control over the accounts.

                94.    From on or about May 8, 2015 through on or about May 31, 2018,

Advantage Dental PC received Medicaid reimbursements through the contract that Person #3 and

Advantage Dental PC secured with MCO #1. The reimbursements related to the Advantage

Dental PC Medicaid contract were the proceeds of the SAVANI GROUP’s health care wire fraud

scheme. MCO #1, through TPA #2, deposited these funds into Advantage Dental PC accounts

ending in 4204 and 4880. Though Person #3 was an authorized signer on these bank accounts, the

accounts were controlled by the SAVANI GROUP, and Person #3 never exercised control over

the accounts.

                95.    In or about 2015, defendant SUNIL PHILIP incorporated United Dentistry

in the name of Person #3. United Dentistry did not conduct any business, had no employees, and

did not have a physical office space.

                96.    Though Person #3 was an authorized signer on United Dentistry accounts

ending in 0657 and 4947, the bank accounts were controlled by the SAVANI GROUP. Person #3

did not exercise control over the accounts.

                97.    In furtherance of the scheme to conceal the funds that were generated by

fraudulently-obtained Medicaid contracts, the Medicaid payments were moved through various

SAVANI GROUP controlled accounts, comingled with other funds, and then dispersed to

SAVANI GROUP entities and to the personal accounts of defendants BHASKAR SAVANI,

ARUN SAVANI, and NIRANJAN SAVANI, to further the interests of the Enterprise and for the

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personal use of defendants BHASKAR SAVANI, ARUN SAVANI, NIRANJAN SAVANI, and

others known and unknown to the grand jury.

                98.    The following shows the general movement of fraud proceeds by year,

which were comingled with other funds to conceal and disguise the nature, location, source,

ownership, and control of the health care fraud proceeds, and to launder those proceeds to the

SAVANI GROUP to further the interests of the Enterprise and for the personal use of defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI. 3

                       a.      Smilekrafters Dental LLC (“SK”) - 2013

  Entity Medicaid and          Amount of      Transfers from      Transfers of comingled funds from
         other dental          Medicaid       account ending      account ending in 1425 to SAVANI
         insurance             payments       in 1223 to          GROUP entities and personal
         payments to SK        obtained by    account ending      SAVANI accounts
         account ending in     fraud          in 1425
         1223
  SK     $1.2 MM               $ 770,000      $1.0 MM             $ 6.1 MM

                For the period in or about 2013, the SAVANI GROUP transferred approximately

$6.1 million from account ending in 1425 to other bank accounts associated with the SAVANI

GROUP and the Enterprise. These transactions were conducted to further the interests of the

Enterprise and for the personal use of defendants BHASKAR SAVANI, ARUN SAVANI, and

NIRANJAN SAVANI.




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                In all instances, millions are designated as “MM” and all numbers are
approximate.
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                        b.        Smilekrafters Dental LLC (“SK”) - 2014

  Entity      Medicaid and         Amount of      Transfers from   Transfers of comingled funds from
              other dental         Medicaid       account ending   account ending in 1425 to
              insurance            payments       in 1223 to       SAVANI GROUP entities and
              payments to SK       obtained by    account ending   personal SAVANI accounts
              account ending in    fraud          in 1425
              1223
  SK          $3.0 MM              $1.8 MM        $3.0 MM          $8.9 MM

                 For the period in or about 2014, the SAVANI GROUP transferred approximately

$8.9 million from account ending in 1425 to other bank accounts associated with the SAVANI

GROUP and the Enterprise. These transactions were conducted to further the interests of the

Enterprise and for the personal use of defendants BHASKAR SAVANI, ARUN SAVANI, and

NIRANJAN SAVANI.

                        c.     Smilekrafters Dental LLC (“SK”); Advantage Dental PC
                               (“ADV”) - 2015
Entity Medicaid       Amount of Transfers Transfers Transfers of Transfers                Transfers
       and            Medicaid     from         from        comingled    of               of
       other          payments     account      accounts    funds from   comingled        comingled
       dental         obtained by ending in ending in       account      funds from       funds from
       insurance      fraud        1223 to      1223 and    ending in    account          account
       payments                    account      4204 to     1425 to      ending in        ending in
       to SK                       ending in account        SAVANI       0657 to          9717 to
       account                     1425         ending in   GROUP        account          account
       ending in                                0657        entities and ending in        ending in
       1223 and                                             personal     9717             0350 to
       ADV                                                  SAVANI                        SAVANI
       account                                              accounts                      Group
       ending in                                                                          entities and
       4204                                                                               personal
                                                                                          SAVANI
                                                                                          accounts
           $4.7 MM    $1.1 MM         $2.0 MM                 $4.9 MM
SK
SK         $4.7 MM    $1.3 MM                     $2.6 MM
ADV        $848,000   $848,000                    $750,000
SK                                                                           $3.5 MM      $10.6 MM
and
ADV

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               From in or about January 2015 through in or about May 2015, the SAVANI

GROUP transferred approximately $4.9 million from account ending in 1425 to other bank

accounts associated with the SAVANI GROUP and the Enterprise. These transactions were

conducted to further the interests of the Enterprise and for the personal use of defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI. From in or about May 2015

through in or about December 2015, the SAVANI GROUP transferred approximately $3.5

million from account ending in 0657 to ADM PC account ending in 9717, and then transferred

approximately $10.6 million from ADM PC account ending in 9717 to ADMG LLC account

ending in 0350. In addition, another approximately $12.2 million was transferred from ADM PC

account ending in 9717 to other bank accounts associated with the SAVANI GROUP and the

Enterprise. These transactions were conducted to further the interests of the Enterprise and for

the personal use of defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN

SAVANI.

                       d.     Smilekrafters Dental LLC (“SK”) and Advantage Dental PC
                              (“ADV”) - 2016
Entity Medicaid         Amount      Transfers from Transfers        Transfers of   Transfers of
       and              of          accounts         from account comingled        comingled
       other dental     Medicaid ending in 1223 ending in           funds from     funds from
       insurance        payments and 4204 to         0657 to        account        account 9717
       payments to      obtained    account ending account          ending in      to SAVANI
       SK account       by fraud    in 0657          ending in      9717 to        GROUP
       ending in                                     9717 which     account        entities and
       1223 and                                      were           ending in      Personal
       ADV                                           comingled      0350           SAVANI
       account                                       with other                    accounts
       ending in                                     funds
       4204
SK     $5.8 MM          $2.3 MM      $4.9 MM
ADV    $2.2 MM          $2.3 MM      $2.0 MM
SK                                                     $8.3 MM          $15.5 MM          $18.6 MM
and
ADV

                                                32
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              For the period in or about 2016, the SAVANI GROUP transferred approximately

$15.5 million from account ending in 9717 to ADMG LLC account ending in 0350; and

approximately $18.6 million from account ending in 9717 to other bank accounts associated with

the SAVANI GROUP and the Enterprise. These transactions were conducted to further the

interests of the Enterprise and for the personal use of defendants BHASKAR SAVANI, ARUN

SAVANI, and NIRANJAN SAVANI.

                     e.      Smilekrafters Dental LLC (“SK”); Advantage Dental PC (“ADV”)
                             - 2017
Entity   Medicaid    Amount of       Transfers      Transfers     Transfers of   Transfers of
         and         Medicaid        from           from account comingled       comingled
         other       payments        accounts       ending in     funds from     funds from
         dental      obtained by     ending in      0657 to       account        account ending
         insurance   fraud           1223 and       account       ending in      in 9717 to
         payments                    4204 to        ending in     9717 to        SAVANI
         to SK                       account        9717 which    account        GROUP
         account                     ending in      were          ending in      entities and
         ending in                   0657           comingled     0350           personal
         1223 and                                   with other                   SAVANI
         ADV                                        funds                        accounts
         account
         ending in
         4204
SK       $4.9 MM     $1.9 MM         $4.9 MM
ADV      $2.0 MM     $2.0 MM         $2.0 MM
SK                                                  $7.1 MM        $14.2 MM         $8.5 MM
and
ADV

              For the period in or about 2017, the SAVANI GROUP transferred approximately

$7.1 million from account ending in 0657 to ADM PC account ending in 9717, and then

transferred approximately $14.2 million from account ending in 9717 to ADMG LLC account

ending in 0350; and approximately $8.5 million from ADM PC account ending in 9717 to other

bank accounts associated with the SAVANI GROUP and the Enterprise. These transactions were



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conducted to further the interests of the Enterprise and for the personal use of defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI.

                       f.     Smilekrafters Dental LLC (“SK”); Advantage Dental PC (“ADV”)
                              - 2018
 Entity Medicaid      Amount of      Transfers       Transfers   Transfers of    Transfers of
        and           Medicaid       from accounts from          comingled       comingled funds
        other         payments       ending in       account     funds from      from account
        dental        obtained by    1223 and        ending in   account         ending in 9717
        insurance     fraud          4204 to         0657 to     ending in       to SAVANI
        payments                     account         account     9717 to         GROUP entities
        to SK                        ending in       ending in   account         and personal
        account                      0657            9717 which ending in        SAVANI
        ending in                                    were        0350            accounts
        1223 and                                     comingled
        ADV                                          with other
        account                                      funds
        ending in
        4204
 SK     $2.1 MM       $720,000        $2.0 MM
 ADV $890,000         $880,000        $890,000
 SK                                                    $3.0 MM        $5.3 MM          $11.2 MM
 and
 ADV

               For the period in or about 2018, the SAVANI GROUP transferred approximately

$3 million from account ending in 0657 to ADM PC account ending in 9717, and then

transferred approximately $5.3 million from account ending in 9717 to ADMG LLC account

ending in 0350; and approximately $11.2 million from ADM PC account ending in 9717 to other

bank accounts associated with the SAVANI GROUP and the Enterprise. These transactions were

conducted to further the interests of the Enterprise and for the personal use of defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI.

                                  Faces & Braces Inc. (“F&B”)

               99.     From on or about March 1, 2013 through on or about at least October 18,

2018, F&B received insurance claim reimbursements, including reimbursements from MCO #1

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and MCO #2, under fraudulently obtained Medicaid contracts with defendant AMEN

DHYLLON. These reimbursements were proceeds from the SAVANI GROUP’s health care wire

fraud scheme.

                100.   In furtherance of the scheme to conceal the fraud proceeds, the SAVANI

GROUP moved the fraudulently obtained Medicaid payments through various SAVANI GROUP

controlled accounts, comingled the payments with other funds, and then dispersed the proceeds to

SAVANI GROUP entities to further the interests of the Enterprise and for the personal use of

defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI.

                101.   The following shows the general movement of fraud proceeds by year

from the F&B scheme, which were comingled with other funds to conceal and disguise the nature,

location, source, ownership, and control of the proceeds and to launder the proceeds to the

SAVANI GROUP to further the interests of the Enterprise and for the personal use of defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI. 4




        4
                In all instances, millions are designated as “MM” and all numbers are
approximate.
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                       g.     Faces & Braces (“F&B”) - 2013 through 2018

Year   Medicaid      Medicaid     Amount of      Transfers    Transfers     Transfers         Transfers
       and           and          Medicaid       from         from          from              from
       other         other        payments       account      account       account           account
       dental        dental       obtained by    ending in    ending in     ending in         ending in
       insurance     insurance    fraud          3146 to      9717 to       4939 to           6481 to
       payments      payments                    account      account       account           account
       to account    to account                  ending in    ending in     ending in         ending in
       ending in     ending in                   9717 with    0350 with     6481 with         6499 with
       3146          4939                        comingled    comingled     comingled         comingled
                                                 funds        funds         funds             funds
2013   $200,000                   $100,000
2014   $1.7 MM                    $549,000
2015   $3.8 MM                    $1.9 MM        $2.1 MM      $10.6 MM
2016   $5.1 MM                    $2.1 MM        $5.1 MM      $15.5 MM
2017   $5.1 MM                    $2.4 MM        $5.1 MM      $8.0 MM
2018   $350,000      $3.5 MM      $1.88 MM       $340,000     $575,000      $3.5 MM           $10.5 MM

               For the period in or about March 2013 through in or about May 2015, once the

proceeds from the SAVANI GROUP’s health care wire fraud scheme were received in account

3146, the fraud proceeds were then transferred into other bank accounts associated with the

SAVANI GROUP and the Enterprise. These transactions were conducted to further the interests

of the Enterprise and for the personal use of defendants BHASKAR SAVANI, ARUN SAVANI,

and NIRANJAN SAVANI. From in or about May 2015 through on or about December 31, 2015,

the SAVANI GROUP transferred approximately $2.1 million from account ending in 3146 to

ADM PC account ending in 9717, and then transferred approximately $10.6 million from

account ending in 9717 to ADMG LLC account ending in 0350. These transactions were

conducted to further the interests of the Enterprise and for the personal use of defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI.

               From in or about 2016, the SAVANI GROUP transferred approximately $5.1

million from account ending in 3146 to ADM PC account ending in 9717, and then transferred

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approximately $15.5 million from account ending in 9717 to ADMG LLC account ending in

0350. These transactions were conducted to further the interests of the Enterprise and for the

personal use of defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI.

               From in or about 2017, the SAVANI GROUP transferred approximately $5.1

million from account ending in 3146 to ADM PC account ending in 9717, and then transferred

approximately $8 million from account ending in 9717 to ADMG LLC account ending in 0350.

These transactions were conducted to further the interests of the Enterprise and for the personal

use of defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI.

               From in or about January 2018 through in or about March 2018, the SAVANI

GROUP transferred approximately $340,000 from account ending in 3146 to ADM PC account

ending in 9717, and then transferred approximately $575,000 from account ending in 9717 to

ADMG LLC account ending in 0350. These transactions were conducted to further the interests

of the Enterprise and for the personal use of defendants BHASKAR SAVANI, ARUN SAVANI,

and NIRANJAN SAVANI. From in or about March 2018 through on or about October 18, 2018,

the SAVANI GROUP transferred approximately $3.5 million from account ending in 4939 to

ADM PC account ending in 6481, and then transferred approximately $10.5 million from

account ending in 6481 to ADMG LLC account ending in 6499. These transactions were

conducted to further the interests of the Enterprise and for the personal use of defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI.

                                   The Tax Wire Fraud Scheme

               102.    From on or about January 1, 2013 through on or about April 15, 2018,

defendants BHASKAR SAVANI, ARUN SAVANI, NIRANJAN SAVANI, and SUNIL PHILIP,

with the assistance of Person #1 and Person #2, and others known and unknown to the grand jury,

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devised and executed a scheme to defraud the United States Treasury by electronically submitting

fraudulent personal tax returns to the United States Department of Treasury through the Internal

Revenue Service.

                 103.   As part of the scheme, defendants BHASKAR SAVANI, ARUN

SAVANI, NIRANJAN SAVANI, and SUNIL PHILIP, with the assistance of Person #1, Person

#2, and others known to the grand jury, paid numerous personal expenses of defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI, with business funds, failed

to report those funds as income on their personal tax returns, and fraudulently expensed those

personal expenses through SAVANI GROUP companies as business expenses.

                 104.   By claiming personal expenses as business expenses on corporate tax

returns, those tax returns thus overstated expenses, which lowered business income and made the

returns false. The business income (which was understated because of the overstated expenses)

flowed through to the personal tax returns of defendants BHASKAR SAVANI, ARUN SAVANI,

and NIRANJAN SAVANI, and thereby lowered their personal income, thus making those returns

false as well.

                 105.   At the direction of defendant ARUN SAVANI, and with the knowledge

and assent of defendants BHASKAR SAVANI and NIRANJAN SAVANI, Person #1 and Person

#2 issued payment for numerous personal expenses of defendants BHASKAR SAVANI, ARUN

SAVANI, and NIRANJAN SAVANI, their wives, and their children, from various SAVANI

GROUP bank accounts.

                 106.   Person #1 and Person #2 received explicit instructions, generally from

defendant ARUN SAVANI, regarding which business accounts to use to pay particular personal

expenses as those bills were presented for payment.

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                107.   Defendants ARUN SAVANI and SUNIL PHILIP further instructed

Person #1 and Person #2, and other employees and associates of the Enterprise, as to the manner

in which payments for personal expenses should be expensed through SAVANI GROUP

companies as fraudulent business expenses.

                108.   Denta Depot LLC was a purported dental supply company owned by

defendant NIRANJAN SAVANI and controlled and operated by the SAVANI GROUP.

                109.   From in or about January 2013 through in or about December 2017, bills

for hundreds of thousands of dollars of personal American Express charges were paid by

SAVANI GROUP companies, including Denta Depot LLC.

                110.   Defendant SUNIL PHILIP kept QuickBooks records for SAVANI

GROUP companies using bank statements and Excel spreadsheets provided to him by Person #1,

Person #2, and defendant ARUN SAVANI. The bank statements showed numerous monthly

intercompany transfers of money and evidenced that the “sales” of certain SAVANI GROUP

companies, such as EZ Biotek, were nothing more than intercompany transfers of money. The

spreadsheets tracked SAVANI GROUP income and expenses, and personal expenses of

defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI that were

expensed through SAVANI GROUP businesses. Those personal expenses included, among other

things, improvements on a vacation property in Hawaii; payments to a tutoring service; payments

to an elite, private college preparatory school; college tuition payments, landscaping, pool

cleaning and housekeeping at private residences; personal American Express charges; car

payments for personal cars of family members; and electric, water, sewer, and tax payments for

private residences.

                111.   Defendant SUNIL PHILIP used the bank statements and Excel

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spreadsheets to categorize and enter the false expenses in the corporate QuickBooks records. The

Excel spreadsheets showed expenses that were clearly personal that defendant PHILIP then

fraudulently categorized in the corporate QuickBooks records as business expenses.

               112.    For the tax years from in or about 2013 through in or about 2017,

defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI, at the direction

of defendants ARUN SAVANI and SUNIL PHILIP, used SAVANI GROUP companies to

fraudulently claim personal expenses as business expenses including but not limited to the

companies listed below:

                       a.     In or about 2013, SAVANI GROUP business tax returns

overstated business expenses by a total of at least $250,000, including the following companies

which had overstated expenses in their tax returns: AAA Denta Lab LLC, Advanced Family

Dentistry PC, Allied Orthodontics, American Real Estate Group LLC, Denta Depot LLC,

Harleysville Real Estate Group LP, Horsham Real Estate Group LP, and Smile Krafters PC.

                       b.     In or about 2014, SAVANI GROUP business tax returns

overstated their business expenses by a total of at least $890,000, including the following

companies which had overstated expenses in their tax returns: A-1 Enterprise LLC, A-1 Family

Dental Care PC, AAA Denta Lab LLC, Advanced Family Dentistry PC, Advanced Family Smile

Care PC, Allied Orthodontics PC, American Family Dental Care PC, American Management

Group LLC, American Real Estate Group LLC, American Unity Dental PA, Denta Depot LLC,

EZ Biotek LLC, Harleysville Real Estate Group LP, Horsham Real Estate Group LP,

Presidential Plan LLC, and Smile Krafters PC.

                       c.     In or about 2015, SAVANI GROUP business tax returns

overstated their business expenses by a total of at least $1.3 million, including the following

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companies which had overstated expenses in their tax returns: A-1 Enterprise LLC, AAA Denta

Lab LLC, Advanced Family Dentistry PC, Advance Family Smile Care PC, Allied Orthodontics

PC, ADMG LLC, ADM PC, American Family Dental Care PC, American Management Group

LLC, American Real Estate Group LLC, American Unity Dental PA, Denta Depot LLC,

Dentaweb LLC, EZ Biotek LLC, Horsham Real Estate Group LP, and Presidential Plan LLC.

                       d.      In or about 2016, SAVANI GROUP business tax returns

overstated their business expenses by a total of over $900,000, including the following

companies which had overstated expenses in their tax returns: A-1 Enterprise LLC, A-1 Family

Dentistry PC, AAA Denta Lab LLC, AAA Signature Smile PC, Advanced Family Dentistry PC,

Allied Orthodontics PC, ADMG LLC, ADM PC, American Management Group LLC, American

Real Estate Group LLC, Denta Depot LLC, Dentaweb LLC, EZ Biotek LLC, Horsham Real

Estate Group LP, and Presidential Plan LLC.

                       e.      In or about 2017, SAVANI GROUP business tax returns

overstated their business expenses by a total of over $740,000, including the following

companies which had overstated expenses in their tax returns: AAA Dentalab LLC, Advanced

Family Dentistry LLC, Allied Orthodontics PC, ADMG LLC, ADM PC, American Management

Group LLC, American Real Estate Group LLC, Denta Depot LLC, Dentaweb LLC, EZ Biotek

LLC, Horsham Real Estate Group LP, and Presidential Plan LLC.

                113.   For tax years 2013 through 2017, defendants BHASKAR SAVANI,

ARUN SAVANI, and NIRANJAN SAVANI failed to report approximately $4.1 million of

corporate pass-through income from SAVANI GROUP companies on their personal form 1040

tax returns, causing a tax revenue loss to the United States Treasury of approximately $1.5

million.

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                114.    The tax returns for SAVANI GROUP businesses and defendants

BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN SAVANI for tax years 2013 through

2017 were filed electronically and passed via electronic wire transmission through servers located

in Martinsburg, West Virginia or Memphis, Tennessee.

                                 The Osseolink Mail Fraud Scheme

                115.    Osseolink USA LLC (“Osseolink”) was a business corporation owned by

EZ Biotek and organized under the laws of the Commonwealth of Pennsylvania, with its principal

place of business located at Fort Washington, in the Eastern District of Pennsylvania.

                116.    The Food and Drug Administration (“FDA”) was an agency of the United

States government responsible for protecting the health and safety of the public by assuring,

among other things, that medical devices intended for use in the treatment of humans are safe and

effective for their intended uses and that the labeling of such devices bears true and accurate

information. Pursuant to this statutory mandate, the FDA regulated the manufacture, labeling, and

shipment in interstate commerce of any such devices.

                117.    Under the Federal Food, Drug and Cosmetic Act (Title 21, United States

Code, §§ 301-397, the “FDCA”), and pursuant to Title 21, United States Code § 321(h), the term

“device” included dental implants, which are medical devices used to replace missing teeth.

                118.    Pursuant to the FDCA, every manufacturer of certain devices. including

dental implants, was required to obtain “clearance” or “approval” from the FDA prior to

marketing its device.

                119.    All medical devices marketed in interstate commerce in the United States

were categorized into one of three regulatory classes under the FDCA: Class III devices (most

stringent), Class I devices (least stringent), and Class II devices (between Class I and Class III).

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The classification assigned to each device was determined by the degree of regulatory control

necessary to provide reasonable assurance of the safety and effectiveness of that device for its

intended use.

                120.   Devices introduced into commercial distribution in the United States after

May 28, 1976 (after certain amendments to the FDCA), were automatically assigned to Class III.

Such Class III devices could not legally be marketed in the United States until the manufacturer

submitted a pre-market approval (“PMA”) application to the FDA, and the FDA approved that

application. The FDA would not grant pre-market approval unless the information in the PMA

application provided the FDA with reasonable assurance that the device was safe and effective

when used according to its labeling.

                121.   A manufacturer could remove a device from automatic assignment to

Class III, and thereby avoid the PMA process, in one of two ways. The first was to obtain an

order from the FDA reclassifying the device into Class I or Class II. The second was to obtain an

order from the FDA that the device was “substantially equivalent” to a legally marketed device

(called a “predicate device”) for which premarket approval was not required.

                122.   A manufacturer that took the alternate route of seeking a determination of

“substantial equivalence” was required to submit to the FDA "pre-market notification" (also

known as a “510(k)”) no later than ninety days before the manufacturer intended to introduce the

device into interstate commerce. If the FDA made a finding of “substantial equivalence" based on

the manufacturer's pre-market notification, the device was then "cleared" for marketing and could

be marketed only for the intended use stated on the label as cleared by the FDA.

                123.   A manufacturer was required to file a new 510(k) for its previously

cleared device if the device was to be changed or modified in a way that could significantly affect

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its safety or effectiveness; that is, if the manufacturer was planning a significant change to the

device's design, material, chemical composition, or manufacturing process. A new 510(k) pre-

market notification was also required for a planned major change or modification in the intended

use of a device.

                   124.   Through an expedited, streamlined version of the 510(k) process, a

manufacturer seeking to obtain FDA clearance to market a modified version of its own,

previously cleared device could submit to the FDA a pre-market notification (also known as a

“Special 510(k)”) no later than thirty days before the manufacturer intended to introduce the

modified device into interstate commerce. If the FDA made a finding that the manufacturer's

modified device was "substantially equivalent" to the manufacturer's original device, the modified

device was then cleared for marketing and could be marketed only for the intended use stated on

the label as cleared by the FDA. The Special 510(k) process could not be used when the proposed

change or modification to the device affected the intended use of the device.

                   125.   Approval of a PMA application and clearance of a 510(k) or Special

510(k) premarket notification were separate routes for obtaining the FDA's approval to market a

medical device. Until a device obtained one of these two forms of approval, it could not legally be

distributed in interstate commerce.

                   126.   With regard to an investigational device, that is a device that is the subject

of a clinical study designed to evaluate the safety and effectiveness of the device, a sponsor (in

this case manufacturer), investigator, or any person acting on their behalf, was not permitted to

promote or test market an investigational device until after the FDA had approved the device for

commercial distribution, and could not represent that the investigational device was safe and

effective for the purposes for which it is being investigated, per 21 C.F.R. § 812.7(a), (d).

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                  127.   The immediate packaging of an investigation device was required to bear

a label containing certain information, including: the name and place of business of the

manufacturer, packer, or distributor in conformance with regulation; the quantity; and the

statement “CAUTION—Investigational device. Limited by Federal (United States) law to

investigational use.” The label or other labeling also had to describe “all relevant

contraindications, hazards, adverse effects, interfering substances or devices, warnings, and

precautions,” per 21 C.F.R. § 812.5(a). The labeling of the investigational device also could not

bear “any statement that is false or misleading in any particular and shall not represent that the

device is safe or effective for the purposes for which it is being investigated,” per 21 C.F.R. §

812.5(b).

                  128.   A device may be deemed misbranded if it, among other things, bore false

and misleading labeling, or if the labeling did not bear adequate directions for its use or adequate

warnings.

                  129.   Under the FDCA, a device was adulterated, among other ways, if it was

introduced into interstate commerce without receiving the required FDA approval, per 21 U.S.C.

§ 351(f)(1)(B).

                           FDA-Cleared Osseolink Dental Implant System

                  130.   Company #1, known to the grand jury, was a dental implant company

owned by Person #4 and Person #6, both known to the grand jury. They designed and

manufactured a dental implant system known as the Osseolink Dental Implant System, which

they submitted to the FDA for 510(k) premarket clearance. Company #1 hired a consultant

company that, among other things, helped medical device companies with FDA regulatory



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compliance and market entry, to help prepare Company #1’s FDA submission for Section 510(k)

clearance.

                131.   On or about October 6, 2009, the FDA cleared Company #1’s 510(k)

submission. The FDA concluded that the “Osseolink Dental Implant System” as described in the

510(k) premarket notification (of intent to market the device) was “substantially equivalent” to

legally marketed predicate devices, or to devices that do not require clearance through a

premarket approval application (PMA). The FDA’s notice had the effect of permitting Company

#1 to market the Osseolink Dental Implant System, and “clear[ed]” the device for commercial

distribution (“the 2009 510K-Cleared Osseolink Dental Implant System”). Accordingly,

Company #1 marketed and sold the 2009 510(k)-Cleared Osseolink Dental Implant System in the

United States and in countries around the world.

                          The SAVANI GROUP Purchased Company #1

                132.   In or around August 2015, the SAVANI GROUP formed Osseolink USA

LLC as a Pennsylvania Corporation located at the SAVANI GROUP headquarters in Fort

Washington, Pennsylvania. Osseolink USA LLC reported its business address to be 260 New

York Drive, Fort Washington, Pennsylvania. Defendant BHASKAR SAVANI was the President

and CEO of Osseolink USA LLC.

                133.   In or around September 2015, Person #4 and Person #6 sold Company #1

to the SAVANI GROUP company EZ Biotek for approximately $500,000. Defendant ARUN

SAVANI executed the asset purchase agreement on behalf of EZ Biotek as its “Managing

Member.” Other sale-related documents were signed on behalf of EZ Biotek by either defendant

ARUN SAVANI or defendant BHASKAR SAVANI. As part of the sale, Company #1’s records,



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goodwill, inventory, equipment, accounts receivable, and trade names were transferred to EZ

Biotek.

                134.   The SAVANI GROUP transferred the assets EZ Biotek received from

Company #1 to the then-recently formed Osseolink USA LLC.

                135.   As part of the Company #1 asset purchase transaction, Person #4 received

a 20% equity stake in Osseolink USA LLC, as consideration for transferring all intellectual

property in the design and to provide his “know-how” to the newly formed Osseolink USA LLC,

which later included input into the development of a new product. Person #4 provided Osseolink

USA LLC with his contacts at the regulatory consulting firm, his suppliers, and other relevant

contacts. Person #4 also advised Osseolink USA LLC of the importance of following all

applicable rules and regulations in the highly regulated medical device manufacturing and sales

industry.

                136.   Among others, defendants BHASKAR SAVANI, ARUN SAVANI,

NIRANJAN SAVANI, ALEKSANDRA RADOMIAK, and JON JULIAN, charged elsewhere in

this indictment, and Person #4, and employees and contractors known to the grand jury, worked

for the SAVANI GROUP in some capacity and on behalf of Osseolink USA LLC.

                137.   Various SAVANI GROUP-affiliated companies booked expenses related

to, and transferred money to bank accounts associated with, Osseolink USA LLC.

                138.   From in or around September 2015 through at least in or about the late fall

of 2018, Osseolink USA LLC marketed and sold the 2009 510(k)-Cleared Osseolink Dental

Implant System.




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                139.    On or about February 29, 2016, defendant BHASKAR SAVANI sent a

WhatsApp message stating that he purchased Osseolink USA LLC, touting that the brand had

FDA approval.

                140.    During the time that the SAVANI GROUP was actively marketing the

2009 510(k)-Cleared Osseolink Dental Implant System to its dentists, several SAVANI GROUP

dentists and dental staff reportedly did not want to continue to use that system because of a

perceived higher than expected failure rate, among other issues.

                141.    More specifically, Person #7, known to the grand jury, had worked at a

SAVANI GROUP dental practice until in or about 2017, stopped using the implants because they

“didn’t work.” Person #7 was aware that defendant NIRANJAN SAVANI did not want to use

Osseolink implants despite the SAVANI GROUP owning Osseolink USA, LLC.

                142.    On or about October 26, 2016, defendant JON JULIAN placed an

Osseolink 5.0 x 11 mm dental implant into Patient #1, known to the grand jury.

                143.    On or about January 25, 2017, defendant JON JULIAN discovered that the

implant failed to osseointegrate into the patient. Osseointegration referred to the firm anchoring of

a dental implant by the growth of bone around it. Osseointegration was necessary for implant

stability and is a prerequisite for long-term clinical success of an osseous (bone) implant.

Defendant JULIAN later replaced the initial implant with an Osseolink 5.0 x 9 mm dental

implant. This was the first of many Osseolink implants that failed to osseointegrate when placed

in patients.

                144.    Person #8, an employee of defendant JON JULIAN known to the grand

jury, was aware of a failure rate among the 2009 510(k)-Cleared Osseolink Dental Implant



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System placed in patients by JON JULIAN that was higher than the average failure rate typically

expected industry-wide for dental implant devices.

                  145.   In or about September 2016, defendant BHASKAR SAVANI asked

defendant JON JULIAN to be the “Dental Director” for the SAVANI GROUP dental education

center known as The Dental Future Center, located at the SAVANI GROUP headquarters in Fort

Washington. While The Dental Future Center was marketed as a “dental education facility,” it

also provided an opportunity for the SAVANI GROUP to promote and sell products, including its

Osseolink dental implants.

                  146.   On or about December 26, 2016, defendant JON JULIAN entered into a

“Service Agreement” with the SAVANI GROUP’s AAA Signature Smile PC d/b/a The Dental

Future Center.

                  147.   Under the agreement, defendant JULIAN was to be paid a commission on

items promoted by Dental Future Center, including 5% of the marginalized collection amount for

any Osseolink Dental Implant Systems sold. This provided a financial incentive for defendant

JULIAN to sell Osseolink Dental Implant Systems. Defendant BHASKAR SAVANI signed the

agreement on behalf of AAA Signature Smile d/b/a The Dental Future Center.

                  148.   In or about March 2017, defendant BHASKAR SAVANI on behalf of

Osseolink USA LLC, hired Person #10, known to the grand jury, as its Dental/Medical Device

Project Manager. Person #10’s primary responsibilities included assisting Osseolink USA LLC in

the development and launch of a new dental implant system, the Osseolink “Engage” dental

implant system.

                  149.   Among other responsibilities, defendant BHASKAR SAVANI tasked

Person #10 with handling FDA regulatory issues related to Osseolink USA LLC, including

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preparing the “pre-market notification” (510(k)) related to the new Osseolink “Engage” dental

implant system. Person#10’s compensation package included a one-time bonus of $10,000 upon

successful launch of the “Engage” implant, which included 510(k) clearance.

               150.    From in or about 2016 through at least in or about the end of 2018,

defendant BHASKAR SAVANI and Osseolink USA LLC sought to design and manufacture the

Osseolink “Engage” dental implant system.

               151.    There were important differences between the new Osseolink “Engage”

implant and the 2009 510(k)-Cleared Osseolink dental implant, including in the thread design and

the shape of the implant. Under FDA regulations, the new Osseolink “Engage” dental implant

required FDA premarket approval or premarket notification (a new 510(k)) before marketing the

implant and shipping it in interstate commerce.

               152.    Defendant JON JULIAN was significantly involved in the design of the

new Osseolink “Engage” dental implant system beginning as early as in or about December 2016

when defendant JULIAN discussed the aggressive thread and the tapered shape of the new

implant in an email with Person #4.

                                   The Osseolink “Engage” Prototype

               153.    In or about May 2017, at the direction of defendant BHASKAR SAVANI,

Person #10 contracted with Company #2, known to the grand jury, to machine “prototypes” or

“samples” of the new Osseolink “Engage” dental implant system.

               154.    As requested, Company #2 fabricated 100 pieces each of: dental implants

of various sizes, two types of abutments, and the scan body. The work was completed in or

around June 2017 and was identified with lot numbers 6327-01 through 6327-07 as reflected on



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invoice numbers 3105 (dated on or about June 30, 2017) and 3110 (dated on or about July 11,

2017).

                  155.   Company #2 manufactured the new Osseolink Engage dental implant

using preliminary drawings. The preproduction implant prototypes requested by Person #10 at the

direction of defendant BHASKAR SAVANI were never intended for patient use. Person #10 kept

records reflecting that a 510(k) submission to the FDA would be filed related to the new

Osseolink “Engage” dental implant system. At all times, Person #10 was acting under the

supervision and direction of defendant BHASKAR SAVANI.

                  156.   On or about January 11, 2018, Person #11 emailed Person #10 stating that

Person #11 was returning failed implants.

                  157.   On or about March 22, 2018, Person #8 emailed defendant JON JULIAN

to discuss discontinuing their use of the Osseolink implant owing to the failures they were

experiencing. According to travel records, defendant JULIAN visited the SAVANI GROUP’s

Fort Washington headquarters multiple times in or about March 2018, including the day after this

email was sent.

                  158.   On or about April 2, 2018, Osseolink USA LLC sent a package to

Company #3, known to the grand jury, in Michigan (Company #3 packing slip Number 9409

dated on or about April 19, 2018) containing approximately 285 Engage implants without cover

screw, “200-unit boxes”, and 500 “universal” cover screws. In an email dated on or about April

16, 2018, Person #10 confirmed that these implants would not be used on human patients.

                  159.   On or about April 24, 2018, Person #10 sent an email to Company #3

approving the label plan for the implants and related parts referred to in paragraph 158. Part of the



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approved label plan called for replacing a prior version’s expiration date with the warning, “NOT

FOR HUMAN USE.”

                160.    On or about April 30, 2018, Person #8 emailed Person #10, copying

defendant JON JULIAN. Person #10 relayed defendant JULIAN’s request to use the new

implants as replacements for the failed devices rather than refund their account.

                161.    On or about April 30, 2018, Person #10 replied to Person #8, copying

defendant JON JULIAN and Person #11, agreeing to refund the failed implants using the

“Engage” implants as replacements.

                162.    On or about May 2, 2018, Person #10 sent a WhatsApp message to

defendants BHASKAR SAVANI, NIRANJAN SAVANI, and JON JULIAN, and to Person #4

stating:

                I just wanted to notify everyone that our first sample of drivers arrived today. We
                have 2 more sets of samples (different materials) arriving by Friday. I will send
                you all samples of each driver along with some raw Implants (surface treated but
                not sterilized) to do some model testing. Please give me your feedback so we can
                alter design if we need to. Sterilized and packaged Implants will be available for
                next phase in testing.


 Person #10 further stated that:

                Also, the raw Implant I am sending is a 3.5x15 mm size. It is our "worst-case
                scenario" Implant which means it's the weakest. Which is why most of our testing
                will be done on this Implant.

                163.    On or about May 4, 2018, Company #3 shipped to Osseolink USA LLC

approximately 285 sterilized, packaged, and labeled prototype/sample “Engage” dental implants,

with “universal” screws. As requested by Person #10, at the direction of defendant BHASKAR

SAVANI, the labeling read “NOT FOR HUMAN USE.”



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                164.   On or about May 16, 2018, defendant NIRAJAN SAVANI, working at the

SAVANI GROUP practice AAA Signature Smile PC, placed one of the Osseolink “Engage”

implants labeled “NOT FOR HUMAN USE” (size 3.5 mm x 9.0 mm) (LOT 111666) in Patient

#2, known to the grand jury. On Patient #2’s informed consent form next to the “Osseolink

Engage” label that reads, “NOT FOR HUMAN USE,” was a hand-written note that stated, “# 5,”

a reference to “tooth number 5.”

                165.   On or about May 17, 2018, defendant NIRANJAN SAVANI sent an

iMessage to defendant JON JULIAN stating, “First Osseolink engage” with a photograph of what

appears to be an x-ray of the implant in the patient’s mouth. Defendant JULIAN asked what size

the implant was, and defendant NIRANJAN SAVANI responded “area #5 . . . 3.5.”

                166.   On or about May 18, 2018, defendant BHASKAR SAVANI was part of a

WhatsApp group message with various individuals, including defendant NIRANJAN SAVANI,

regarding “Osseolink India.” Defendant BHASKAR SAVANI encouraged the formation of a

company in India. Defendant NIRANJAN SAVANI responded that if the product was FDA-

approved in the United States, it could be distributed in India with the same brand name and

International Organization for Standardization (ISO).

                167.   On or about May 25, 2018, defendant JON JULIAN traveled to the

SAVANI GROUP headquarters to speak at The Dental Future Center. During this visit, Person

#10 personally gave defendant JULIAN multiple “Engage” dental implants. These implants and

drivers then moved in interstate commerce from Pennsylvania to South Carolina.

                168.   On or about June 4, 2018, Person #10 sent an email to Person #8 stating

that Person #8 had mailed via Federal Express (Tracking Number 7723 8739 8977) 15 packaged

and sterilized Osseolink “Engage” implants at no cost as a refund for the 15 failed implants. The

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FedEx shipping invoice (invoice number: 6-210-03666 for account number 3165-7182-4) notes

that these implants were sent via standard overnight shipping, delivered on June 5, 2018. The

sender was defendant BHASKAR SAVANI on behalf of Osseolink USA LLC, located at 260

New York Drive, Fort Washington, Pennsylvania. The intended recipient was defendant JON

JULIAN on behalf of The Dental Retreat, located at Botanical Circle, Travelers Rest, South

Carolina. These implants therefore moved in interstate commerce from Pennsylvania to South

Carolina.

                169.   On or about June 8, 2018, defendant NIRANJAN SAVANI, at the

SAVANI GROUP dental practice AAA Signature Smile PC, placed a 3.5 mm x 13.0 mm (LOT

111668) prototype/sample “Engage” dental implant labeled “NOT FOR HUMAN USE” into

Patient #3, known to the grand jury, who is also a dentist for the SAVANI GROUP.

                170.   On or about June 8, 2018, Person #4 sent an email to Osseolink employee

Person #10, copying defendants BHASKAR SAVANI and NIRANJAN SAVANI. In the email,

Person #4 provided feedback for the “Engage” implant and driver prototypes.

                171.   On or about June 9, 2018, defendant BHASKAR SAVANI responded to

Person #4’s June 8, 2018 email, copying defendant JON JULIAN, and noting that defendant

JULIAN experienced similar issues.

                172.   On or about June 9, 2018, continuing the same WhatsApp group message,

referenced in paragraph 166, defendant BHASKAR SAVANI stated, “Let’s start marketing our

packed product here[.] Little bit expensive until we get proper volume so we can work quantity

and manufacturing there[.]”

                173.   On or about June 11, 2018, defendant JON JULIAN placed a total of four

Osseolink “Engage” prototype/sample dental implants labeled “NOT FOR HUMAN USE” in

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human patients. Specifically, defendant JULIAN placed one Osseolink “Engage”

prototype/sample dental implant labeled “NOT FOR HUMAN USE” into Patient #4, known to

the grand jury; and he placed three Osseolink “Engage” prototype/sample dental implants labeled

“NOT FOR HUMAN USE” into Patient #5, known to the grand jury.

                174.   Following those patient procedures, also on or about June 11, 2018, in a

group WhatsApp chat with defendants BHASKAR SAVANI, NIRANJAN SAVANI, and JON

JULIAN, the following exchange occurred:

                JON JULIAN: I put 4 Engage implants in today and the carrier pulled one out! I
                managed it ok but that is definitely an issue we have to solve.

                BHASKAR SAVANI: Please take some interest and let’s finalize the design

                JON JULIAN: Ok I’ll play with it this evening and by tomorrow maybe Nin and I
                can come up with a design that is more user friendly. Are you available anytime
                tomorrow Nin?

                175.   On or about June 12, 2018, Person #10 memorialized defendant JON

JULIAN’s feedback for the Osseolink “Engage” prototype/sample dental implant in handwritten

notes titled, “Julian Engage Feedback.” This feedback included that the driver was slipping and

suggested a different shape for the implant.

                176.   On or about June 12, 2018, Person #8 sent an email to Person #10

(copying defendants JON JULIAN and ALEKSANDRA RADOMIAK and Person #11), which

included at least one photograph of the prototype/sample “Engage” dental implant inventory in its

box (Lot # 111668) at The Dental Retreat in Duncan, South Carolina. Person #8 asked Person #10

to include a packing slip going forward when Osseolink USA LLC ships implants. The implants

in the picture moved in interstate commerce from Pennsylvania to South Carolina.




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                177.    On or about August 9, 2018, defendant BHASKAR SAVANI sent a

WhatsApp message to Person #12, known to the grand jury, regarding implants stating that the

new thread design was a great success.

                178.    On or about August 15, 2018, defendant BHASKAR SAVANI sent an

iMessage to Person #13, known to the grand jury, discussing expanding Person #13’s duties to

include work with Osseolink USA LLC, stating that defendant BHASKAR SAVANI needed to

hire FDA consultants.

                179.    On or about August 16, 2018, defendant BHASKAR SAVANI sent an

iMessage to Person #10 inquiring into the status of the FDA registration.

                180.    On or about September 17, 2018, defendant BHASKAR SAVANI sent an

email to Person #13, copying defendants NIRANJAN SAVANI and ALEKSANDRA

RODOMIAK, and Person #1, communicating the compensation structure for Person #13 which

was dependent on FDA approval of the Osseolink “Engage” implant.

                181.    On or about September 18, 2018, Person #11 went to The Dental Retreat’s

supply closet to retrieve an Osseolink “Engage” prototype/sample dental implant for an upcoming

patient procedure and observed that the packaging was labeled “NOT FOR HUMAN USE.”

Concerned, Person #11 took the prototype/sample “Engage” dental implant to Person #8.

Together, Person #11 and Person #8 took the prototype/sample “Engage” dental implant to

defendant JON JULIAN. Defendant JULIAN claimed not to have realized that the

prototype/sample “Engage” dental implant was labeled “NOT FOR HUMAN USE.” Defendant

JULIAN then purportedly called defendant BHASKAR SAVANI on his cellular phone in front of

Person #11 and Person #8. Although they were standing in the same room as defendant JULIAN

when he made the call, Person #11 and Person #8 could not hear what was being said. Upon

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hanging up the phone, defendant JULIAN went forward with that day’s procedure and continued

to place the unapproved Osseolink “Engage” implant into patients up and until on or about

October 17, 2018.

               182.    On or about October 18, 2018, the government executed court-authorized

search warrants at the SAVANI GROUP headquarters, among other locations. After that date and

the searches, defendant JON JULIAN did not place another prototype/sample “Engage” dental

implant into a patient. Defendant JULIAN’s last procedure involving the prototype/sample

“Engage” dental implant was on or about October 17, 2018.

               183.    In total, defendant JON JULIAN placed at least 25 “NOT FOR HUMAN

USE” prototype/sample Osseolink “Engage” dental implants in approximately 16 human patients,

and defendant NIRANJAN SAVANI placed at least three “NOT FOR HUMAN USE” implants in

approximately two human patients.

                                          OVERT ACTS

               In furtherance of the conspiracy and to affect its object, the defendants and other

co-conspirators, known and unknown to the grand jury, committed the following overt acts,

among others, in the Eastern District of Pennsylvania and elsewhere:

               On or about the dates below, defendants BHAKSAR SAVANI, ARUN SAVANI,

and NIRANJAN SAVANI, knowingly made under oath, and under penalty of perjury, and

subscribed as true, false statements with respect to material facts in the Petitions for

Nonimmigrant Worker to the United States Department of Homeland Security, Form I-129, and

in the Labor Condition Applications for Nonimmigrant Workers, Form ETA-9035, to the United

States Department of Labor, to secure H-1B visas for the H-1B workers identified below, known

to the grand jury, each a separate overt act in this indictment:

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Overt Act   Date                 Defendant          H-1B Worker

1           February 4, 2009     ARUN SAVANI        Person #14
2           July 12, 2010        ARUN SAVANI        Person #14
3           October 20, 2010     ARUN SAVANI        Person #15
4           March 31, 2011       ARUN SAVANI        Person #16
5           April 12, 2011       ARUN SAVANI        Person #17
6           June 7, 2011         ARUN SAVANI        PIYUSHA PATEL
7           September 8, 2011    ARUN SAVANI        HITESHKUMAR GOYANI
8           November 11, 2011    ARUN SAVANI        Person #19
9           April 18, 2012       ARUN SAVANI        Person #20
10          June 22, 2012        ARUN SAVANI        Person #21
11          June 22, 2012        ARUN SAVANI        BHARATKUMAR PARASANA
12          July 19, 2012        ARUN SAVANI        Person #25
13          August 8, 2012       ARUN SAVANI        Person #22
14          January 9, 2013      ARUN SAVANI        Person #17
15          January 19, 2013     ARUN SAVANI        BHARATKUMAR PARASANA
16          March 28, 2013       ARUN SAVANI        VIVEK SAVANI
17          May 21, 2013         ARUN SAVANI        Person #23
18          September 5, 2013    ARUN SAVANI        Person #25
19          June 27, 2014        ARUN SAVANI        HITESHKUMAR GOYANI
20          September 12, 2014   ARUN SAVANI        Person #19
21          September 18, 2014   ARUN SAVANI        PIYUSHA PATEL
22          March 9, 2015        ARUN SAVANI        Person #24
23          June 11, 2015        ARUN SAVANI        BHARATKUMAR PARASANA
24          August 5, 2015       ARUN SAVANI        Person #22
25          May 2, 2016          BHASKAR SAVANI     Person #23
26          May 2, 2016          ARUN SAVANI        VIVEK SAVANI
27          May 2, 2016          NIRANJAN SAVANI    PIYUSHA PATEL
28          June 15, 2018        ARUN SAVANI        Person #25
29          June 15, 2018        ARUN SAVANI        Person #24
30          August 14, 2018      NIRANJAN SAVANI    PIYUSHA PATEL
31          August 16, 2018      ARUN SAVANI        Person #22
32          April 5, 2019        ARUN SAVANI        Person #24
33          April 8, 2019        BHASKAR SAVANI     Person #25
34          July 31, 2019        ARUN SAVANI        VIVEK SAVANI
35          September 10, 2020   NIRANJAN SAVANI    Person #25

            On or about the dates below, defendants BHASKAR SAVANI, ARUN SAVANI,

NIRANJAN SAVANI, SUNIL PHILIP, and AMEN DHYLLON, with others known to the




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grand jury, committed the following in furtherance of the health care wire fraud scheme, each a

separate overt act in this indictment:

 Overt Act Date                          Defendant(s)         Description

 36           January 2013               BHASKAR SAVANI       At the direction of defendants
                                         ARUN SAVANI          BHASKAR SAVANI and ARUN
                                                              SAVANI, the Smilekrafters Dental
                                                              LLC entities were incorporated.

 37           February 12, 2013          BHASKAR SAVANI       At the direction of defendant
                                                              BHASKAR SAVANI, the
                                                              Smilekrafters Dental LLC entities
                                                              entered into a fraudulent Practice
                                                              Purchase Agreement with Smile
                                                              Krafters PC

 38           March 8, 2013              BHASKAR SAVANI       At the direction of defendants
                                         ARUN SAVANI          BHASKAR SAVANI and ARUN
                                                              SAVANI, Conestoga Bank account
                                                              1223 was opened for Smilekrafters
                                                              Dental LLC


 39           March 25, 2013             AMEN DHYLLON         Incorporated Faces & Braces, Inc.

 40           April 2013                 AMEN DHYLLON         Secured a Medicaid contract with
                                                              MCO #2 by failing to disclose to
                                                              MCO #2 defendant BHASKAR
                                                              SAVANI and the SAVANI
                                                              GROUP’s interest in and control of
                                                              the dental practices credentialed
                                                              under the contract.

 41           April 15, 2013             AMEN DHYLLON         Entered into a Mutual
                                         ARUN SAVANI          Understanding that a property sub-
                                                              lease would be executed and used
                                                              solely to falsely demonstrate
                                                              defendant DHYLLON’s
                                                              independence from the SAVANI
                                                              GROUP to gain insurance
                                                              contracts. The sub-lease would
                                                              become null and void once
                                                              insurance contracts were obtained.
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 Overt Act Date                      Defendant(s)             Description

 42           May 1, 2013            AMEN DHYLLON             Opened Conestoga Bank account
                                     ARUN SAVANI              ending in 3146 for Faces & Braces,
                                                              Inc.
 43           January 22, 2014       NIRANJAN SAVANI          Caused the submission of
                                                              fraudulent claims for services to
                                                              Patient #25 that he did not provide.
 44           November 20, 2014      SUNIL PHILLIP            Filed incorporation documents for
                                                              Advantage Dental, PC.
 45           March 24, 2015         BHASKAR SAVANI           At the direction of defendants
                                     ARUN SAVANI              BHASKAR SAVANI and ARUN
                                                              SAVANI Conestoga Bank account
                                                              ending in 4202 was opened for
                                                              Advantage Dental, P.C.

 46           July 13, 2016          ALEKSANDRA               Email to Person #3, among others,
                                     RADOMIAK                 and copying defendants
                                                              BHASKAR SAVANI, ARUN
                                                              SAVANI, and ALEKSANDRA
                                                              RADOMIAK, directing that “Per
                                                              Ola” uncredentialed dentists should
                                                              be made “ACTIVE” in Dentaweb
                                                              to treat patients.

 47           March 6, 2017          NIRANJAN SAVANI          Caused the submission of
                                                              fraudulent claims for services to
                                                              Patient #26 that he did not provide.

 48           April 9, 2018          NIRANJAN SAVANI          Caused the submission of
                                                              fraudulent claims for services to
                                                              Patient #11 that he did not provide.

              On or about the dates below, defendants BHASKAR SAVANI and ARUN

SAVANI caused proceeds of the health care wire fraud scheme to be regularly moved from the

Smilekrafters Dental LLC account ending in 4905 at TD Bank to United Dentistry account

ending in 4947 at TD Bank. Thereafter, defendants BHASKAR SAVANI and ARUN SAVANI

caused proceeds of the health care wire fraud scheme to be transferred from United Dentistry

account ending in 4947 at TD Bank into ADM PC account ending in 6481 at TD Bank and then


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into various other SAVANI GROUP-controlled accounts. Each transaction was designed to

conceal the nature and origin of the funds, each a separate overt act in this indictment:

 Overt Act    Date                   Defendant(s)              Description

 49           February 9, 2018       BHASKAR SAVANI            Transfer of approximately $137,000
                                     ARUN SAVANI               from Smilekrafters Dental LLC
                                                               account ending in 4905 at TD Bank
                                                               to United Dentistry account ending
                                                               in 4947 at TD Bank. Approximately
                                                               $60,000 of the transfer constituted
                                                               proceeds of health care fraud.
 50           February 9, 2018       BHASKAR SAVANI            Transfer of approximately $137,000
                                     ARUN SAVANI               from United Dentistry account
                                                               ending in 4947 at TD Bank to ADM
                                                               PC account ending in 6481 at TD
                                                               Bank. Approximately $60,000 of the
                                                               transfer constituted proceeds of
                                                               health care fraud.

               On or about the date below, defendants BHASKAR SAVANI and ARUN

SAVANI caused proceeds of the health care wire fraud scheme to be transferred from the

Advantage Dental account ending in 4880 at TD Bank to United Dentistry account ending in

4947 at TD Bank. Thereafter, defendants BHASKAR SAVANI and ARUN SAVANI caused

proceeds of the health care wire fraud scheme to be transferred from United Dentistry account

ending in 4947 at TD Bank to ADM PC account ending in 6481 at TD Bank to various SAVANI

GROUP-controlled accounts. The transaction was designed to conceal the nature and origin of

the funds.




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 Overt Act    Date                   Defendant(s)              Description

 51           February 16, 2018      BHASKAR SAVANI            The transfer of approximately
                                     ARUN SAVANI               $86,000 from Advantage Dental
                                                               account ending in 4880 at TD
                                                               Bank to United Dentistry account
                                                               ending in 4947 at TD Bank.
                                                               Approximately $86,000 of the
                                                               transfer constituted proceeds of
                                                               health care fraud.

               On or about the dates below, defendants BHASKAR SAVANI and ARUN

SAVANI caused proceeds of the health care wire fraud scheme to be transferred from F&B

account ending in 4939 at TD Bank and into ADM PC account ending in 6481 at TD Bank. After

the proceeds of the health care wire fraud scheme were deposited into ADM PC account ending

in 6481 at TD Bank, defendants BHASKAR SAVANI and ARUN SAVANI caused the proceeds

to be comingled and transferred into ADMG LLC account ending in 6499 at TD Bank and then

into various other SAVANI GROUP-controlled accounts. Each transaction was designed to

conceal the nature and origin of the funds, each a separate overt act in this indictment:

 Overt Act    Date                   Defendant(s)              Description

 52           March 23, 2018         BHASKAR SAVANI            The transfer of approximately
                                     ARUN SAVANI               $122,000 from F&B account
                                                               ending in 4939 at TD Bank to
                                                               ADM PC account ending in 6481
                                                               at TD Bank. Approximately
                                                               $84,000 of the transfer constituted
                                                               proceeds of health care fraud.
 53           March 23, 2018         BHASKAR SAVANI            The transfer of approximately
                                     ARUN SAVANI               $500,000 from ADM PC account
                                                               ending in 6481 at TD Bank to
                                                               ADMG LLC account ending in
                                                               6499 at TD Bank. Approximately
                                                               $84,000 of the transfer constituted
                                                               proceeds of health care fraud.



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               On or about the dates below, defendants BHASKAR SAVANI and ARUN

SAVANI caused proceeds of the health care wire fraud scheme to be transferred from both

Smilekrafters Dental LLC account ending in 4905 at TD Bank and Advantage Dental account

ending in 4880 at TD Bank and into United Dentistry account ending in 4947 at TD Bank.

Thereafter, defendants BHASKAR SAVANI and ARUN SAVANI caused proceeds of the health

care wire fraud scheme to be transferred from United Dentistry account ending in 4947 at TD

Bank into American Dental Management PC account ending in 6481 at TD Bank, and then into

various other SAVANI GROUP-controlled accounts. Each transaction was designed to conceal

the nature and origin of the funds, each a separate overt act in this indictment:

 Overt Act    Date                   Defendant(s)              Description

 54           May 11, 2018           BHASKAR SAVANI            The transfer of approximately
                                     ARUN SAVANI               $92,000 from Advantage Dental
                                                               account ending in 4880 at TD Bank
                                                               to United Dentistry account ending in
                                                               4947 at TD Bank. Approximately
                                                               $92,000 of the transfer constituted
                                                               proceeds of health care fraud.
 55           May 11, 2018           BHASKAR SAVANI            The transfer of approximately
                                     ARUN SAVANI               $124,000 from Smilekrafters Dental
                                                               LLC account ending in 4905 at TD
                                                               Bank to United Dentistry account
                                                               ending in 4947 at TD Bank.
                                                               Approximately $97,000 of the
                                                               transfer constituted proceeds of
                                                               health care fraud.
 56           May 11, 2018           BHASKAR SAVANI            The transfer of approximately
                                     ARUN SAVANI               $216,000 from United Dentistry
                                                               account ending in 4947 at TD Bank
                                                               to ADM PC account ending in 6481
                                                               at TD Bank. Approximately $190,000
                                                               of the transfer constituted proceeds of
                                                               health care fraud.




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               On or about the dates below, defendants BHASKAR SAVANI and ARUN

SAVANI caused monetary transactions in criminally-derived property, that is, health care fraud

proceeds, of a value greater than $10,000, to be transferred from the bank accounts of nominee-

owned dental practices to accounts owned by the SAVANI GROUP, each a separate overt act in

this indictment:

 Overt Act Date                    Defendant(s)             Description

 57           October 2, 2013      BHASKAR SAVANI           Withdrawal from Smilekrafters
                                   ARUN SAVANI              Dental LLC account ending 1223
                                                            in the amount of $83,365.50 and
                                                            deposit of same into Smile
                                                            Krafters PC account ending 1425.
 58           July 18, 2014        BHASKAR SAVANI           Withdrawal from Smilekrafters
                                   ARUN SAVANI              Dental LLC account ending 1223
                                                            in the amount of $95,363 and
                                                            deposit of same into Smile
                                                            Krafters PC account ending 1425.
 59           April 10, 2015       BHASKAR SAVANI           Internal bank transfer in the
                                   ARUN SAVANI              amount of $119,283.60 from
                                                            Smilekrafters Dental LLC account
                                                            ending 1223 into Smile Krafters
                                                            PC account ending 1425.
 60           March 30, 2018       BHASKAR SAVANI           Internal bank transfer in the
                                   ARUN SAVANI              amount of $39,452.74 from
                                                            Advantage Dental PC account
                                                            ending 4880 into United Dentistry
                                                            PC account ending 4947.
 61           April 27, 2018       BHASKAR SAVANI           Internal bank transfer in the
                                   ARUN SAVANI              amount of $143,562.58 from Faces
                                                            & Braces Inc. account ending
                                                            4939 into American Dental
                                                            Management PC account ending
                                                            6481.

              On or about the dates below, defendant SUNIL PHILIP caused Internal Revenue

Service forms 1040 for defendants BHASKAR SAVANI, ARUN SAVANI, and NIRANJAN

SAVANI, and their spouses, prepared by defendant SUNIL PHILIP, to be electronically filed


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with the Internal Revenue Service, which defendants SUNIL PHILIP, BHASKAR SAVANI,

ARUN SAVANI, and NIRANJAN SAVANI knew were false and fraudulent, each a separate

overt act in this indictment:

 Overt Act      Date              Defendant                       Description

 62             March 10, 2016    ARUN SAVANI                     Fraudulent form 1040 for
                                  NIRANJAN SAVANI                 defendants ARUN SAVANI
                                  SUNIL PHILIP                    and NIRANJAN SAVANI,
                                                                  and their spouses
                                                                  electronically filed with the
                                                                  Internal Revenue Service.
 63             April 10, 2016    BHASKAR SAVANI                  Fraudulent form 1040 for
                                  SUNIL PHILIP                    defendant BHASKAR
                                                                  SAVANI
                                                                  and his spouse
                                                                  electronically filed with the
                                                                  Internal Revenue Service.
 64             March 30, 2017    BHASKAR SAVANI                  Fraudulent forms 1040 for
                                  ARUN SAVANI                     defendants BHASKAR
                                  NIRANJAN SAVANI                 SAVANI,
                                  SUNIL PHILIP                    ARUN SAVANI, and
                                                                  NIRANJAN SAVANI, and
                                                                  their spouses electronically
                                                                  filed with the Internal
                                                                  Revenue Service.
 65             April 4, 2018     BHASKAR SAVANI                  Fraudulent forms 1040 for
                                  ARUN SAVANI                     defendants BHASKAR
                                                                  SAVANI,
                                                                  ARUN SAVANI, and
                                                                  NIRANJAN SAVANI,
                                                                  and their spouses
                                                                  electronically filed with the
                                                                  Internal Revenue Service.

               On or about the dates below, defendants BHASKAR SAVANI and NIRANJAN

SAVANI committed the following acts in furtherance of the scheme to circumvent FDA

regulatory requirements and to defraud patients by profiting from placing unapproved dental




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devices in patients without their knowledge and informed consent, each a separate overt act in

this indictment:

 Overt Act     Date                    Defendant                  Description

 66            May 2017                BHASKAR SAVANI             Caused prototypes for the new
                                                                  Osseolink “Engage” implant to be
                                                                  machined.
 67            April 2018              BHASKAR SAVANI             Caused machined prototypes of the
                                                                  new Osseolink “Engage” implant to
                                                                  be sterilized and packaged, for
                                                                  delivery to be expedited, and to be
                                                                  described as “NOT for clinical sale”
                                                                  and “NOT for patient use.”
 68            April 24, 2018          BHASKAR SAVANI             Caused the approval of a proposed
                                                                  label that included the warning “NOT
                                                                  FOR HUMAN USE.”
 69            May 16, 2018            NIRANJAN SAVANI            Placed a prototype/sample “Engage”
                                                                  implant labeled “NOT FOR HUMAN
                                                                  USE” in Patient #2.
 70            June 4, 2018            BHASKAR SAVANI             Caused the prototype/sample
                                                                  “Engage” implant to move in
                                                                  interstate commerce via Federal
                                                                  Express mailing from Pennsylvania
                                                                  to South Carolina (FedEx Invoice
                                                                  Number: 6-210-03666; Account
                                                                  Number: 3165-7182-4; Tracking
                                                                  Number: 772387398977).
 71            June 8, 2018            NIRANJAN SAVANI            Placed a prototype/sample “Engage”
                                                                  implant labeled “NOT FOR HUMAN
                                                                  USE” in Patient #3.
 72            June 8, 2018            BHASKAR SAVANI             Caused the prototype/sample
                                                                  “Engage” implant to move in
                                                                  interstate commerce via Federal
                                                                  Express mailing from Pennsylvania
                                                                  to South Carolina (FedEx Invoice
                                                                  Number: 6-217-04523; Account
                                                                  Number: 3165-7182-4; Tracking
                                                                  Number: 772427774990).

               All in violation of Title 18, United States Code, Section 1962(d).




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                                          COUNT TWO

                         CONSPIRACY TO COMMIT VISA FRAUD
                                   18 U.S.C. § 371

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Paragraphs 1, 3, 5 through 7, and 18 through 24 of Count One are

incorporated here.

               2.      From in or about February 2009 through in or about October 2020, in the

Eastern District of Pennsylvania, and elsewhere, defendants

                                    BHASKAR SAVANI,
                                        a/k/a “Dr. B,”
                                      ARUN SAVANI,
                                    NIRANJAN SAVANI,
                                         a/k/a “Nin,”
                                      VIVEK SAVANI,
                                BHARATKUMAR PARASANA,
                                       a/k/a “Kumar,”
                                HITESHKUMAR GOYANI, and
                                     PIYUSHA PATEL

conspired and agreed, together and with others known and unknown to the grand jury, to commit

an offense against the United States, that is, knowingly made under oath, and under penalty of

perjury, and subscribed as true, false statements with respect to material facts in the Petitions for

Nonimmigrant Worker to the United States Department of Homeland Security, Form I-129, and

Labor Condition Applications for Nonimmigrant Workers to the United States Department of

Labor, Form ETA-9035, including the supporting documents, for the workers listed in Overt

Acts 1 through 35 of Count One, which are incorporated here, which application and petition

was required by the immigration laws and regulations prescribed thereunder, and presented the



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applications and petitions which contained false statements, in violation of Title 18, United

States Code, Section 1546(a).

                                    MANNER AND MEANS

               It was part of the conspiracy that:

                3.    Paragraphs 26 through 37 of Count One are incorporated here.

                                      OVERT ACTS

               In furtherance of the conspiracy and to accomplish its objects, defendants

BHASKAR SAVANI, ARUN SAVANI, NIRANJAN SAVANI, VIVEK SAVANI,

BHARATKUMAR PARASANA, HITESHKUMAR GOYANI, and PIYUSHA PATEL

committed the following Overt Acts, among others, in the Eastern District of Pennsylvania and

elsewhere:

               1.     Overt Acts 1 through 35 of Count One are incorporated here.

               All in violation of Title 18, United States Code, Section 371.




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                            COUNTS THREE THROUGH SEVEN

                                         VISA FRAUD
                                       18 U.S.C. § 1546(a)

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Paragraphs 18 through 37 of Count One are incorporated here.

               2.      On or about the dates listed below, each date constituting a separate count,

in the Eastern District of Pennsylvania, and elsewhere, defendants

                                     BHASKAR SAVANI,
                                        a/k/a “Dr. B,”
                                       ARUN SAVANI,
                                     NIRANJAN SAVANI,
                                       a/k/a “Nin,” and
                                      PIYUSHA PATEL,

knowingly made under oath, and under penalty of perjury, and subscribed as true, any false

statement with respect to a material fact that was in the Petitions for Nonimmigrant Worker to

the United States Department of Homeland Security, Form I-129, and Labor Condition

Applications for Nonimmigrant Workers to the United States Department of Labor, Form ETA-

9035, including the supporting documents, for the workers listed below, which applications and

petitions were required by labor and immigration laws, and regulations prescribed thereunder,

and presented the applications and petitions which contained false statements, each a separate

count in this indictment.




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Count    Date                 Worker               Defendant(s)         False Statements

3        June 15, 2018        Person #25           ARUN SAVANI   The application and petition
                                                                 falsely stated that Person #25
                                                                 would be working as a
                                                                 chemist at American
                                                                 Management Group LLC at
                                                                 401 Commerce Drive, Apt
                                                                 108, Fort Washington,
                                                                 Pennsylvania.
4        April 8, 2019        Person #25           BHASKAR       The application and petition
                                                   SAVANI,       falsely stated that Person #25
                                                   a/k/a “Dr. B” would be working as a
                                                                 chemist at American Dental
                                                                 Management PC, 1240 Main
                                                                 Ave, Clifton, New Jersey.
5        August 14, 2018      PIYUSHA              NIRANJAN      The application and petition
                              PATEL                SAVANI, a/k/a falsely stated that PIYUSHA
                                                   “Nin”         PATEL would be working as
                                                   PIYUSHA PATEL an accountant at A-1 Iowa
                                                                 Dental PLLC, 6901 Hickman
                                                                 Road, Urbandale, IA.
6        August 16, 2018      Person #22           ARUN SAVANI   The application and petition
                                                                 falsely stated that Person #22
                                                                 would be working as a
                                                                 software developer at
                                                                 American Management
                                                                 Group LLC, 401 Commerce
                                                                 Drive, Suite 108, Fort
                                                                 Washington, Pennsylvania.
7       September 10, 2020    Person #25           NIRANJAN      The application falsely stated
                                                   SAVANI,       that Person #25 would be
                                                   a/k/a “Nin”   working as a quality control
                                                                 chemist at American Unity
                                                                 Dental PA, 485 US Route 1
                                                                 & Plainfield Avenue, Edison,
                                                                 New Jersey.

             All in violation of Title 18, United States Code, Sections 1546(a) and 2.




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                                         COUNT EIGHT

                          CONSPIRACY TO OBSTRUCT JUSTICE
                                   18 U.S.C. § 371

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Paragraphs 38 through 43 of Count One are incorporated here.

               2.      From in or about November 2018 through in or about August 2022, in the

Eastern District of Pennsylvania and elsewhere, defendants

                                     BHASKAR SAVANI,
                                        a/k/a “Dr. B,”
                                     ARUN SAVANI, and
                                    SUSAN MALPARTIDA

conspired and agreed, together with others known and unknown to the grand jury, to corruptly

influence, obstruct, and impede and endeavor to influence, obstruct and impede a pending

proceeding, that is the federal grand jury investigation in the Eastern District of Pennsylvania of

the SAVANI GROUP, in violation of Title 18, United States Code, Section 1503.

                              MANNER AND MEANS

               It was part of the conspiracy that:

               3.      Paragraphs 38 and 39 Count One are incorporated here.

                                      OVERT ACTS

               In furtherance of the conspiracy and to accomplish its objects, defendants

BHASKAR SAVANI, ARUN SAVANI, and SUSAN MALPARTIDA committed the following

Overt Acts, among others, in the Eastern District of Pennsylvania and elsewhere:

               1.      Paragraphs 40, 41, and 43 of Count One are incorporated here.

               All in violation of Title 18, United States Code, Section 371.

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                                         COUNT NINE

                    CONSPIRACY TO COMMIT HEALTH CARE FRAUD
                              18 U.S.C. §§ 1349 and 1347

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.     Paragraphs 5 through 7, 9, 10 through 13, and 44 through 85 of Count One

are incorporated here.

               2.     From in or about October 2012, through in or about November 30, 2021,

in the Eastern District of Pennsylvania and elsewhere, defendants

                                   BHASKAR SAVANI,
                                       a/k/a “Dr. B,”
                                      ARUN SAVANI,
                                   NIRANJAN SAVANI,
                                         a/k/a “Nin,”
                                    AMEN DHYLLON,
                                   a/k/a “Dr. Amen,” and
                                ALEKSANDRA RADOMIAK,
                                         a/k/a “Ola,”

conspired and agreed, together and with Person #1, Person #2, and Person #3, and others known

and unknown to the grand jury to knowingly and willfully execute a scheme to defraud a health

care benefit program, specifically Medicaid, and to obtain money and property of Medicaid by

means of false and fraudulent pretenses, representations, and promises, in connection with the

delivery of and payment for health care benefits, items and services, by submitting and causing

to be submitted fraudulent health care insurance claims that were billed under Medicaid contracts

obtained by false or fraudulent pretenses, representations and promises and/or under the National

Provider Identification number of a dentist who was out of the United States at the time the

services were allegedly performed.


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    All in violation of Title 18, United States Code, Sections 1349 and 1347.




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                        COUNTS TEN THROUGH TWENTY-FOUR

                                   HEALTH CARE FRAUD
                                      18 U.S.C. § 1347

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.     Paragraphs 5 through 7, 9 and 10, and 44 through 85 of Count One are

incorporated here.

               2.     On or about each of the dates set forth below, in the Eastern District of

Pennsylvania and elsewhere, the defendant(s) identified below, knowingly and willfully

executed, and aided and abetted, a scheme and artifice to defraud health care benefit programs in

connection with the delivery of and payment for health care benefits, items and services, by

means of false and fraudulent pretenses, representations and promises, money and property

owned by and under the custody and control of health care benefit programs, that included

Medicaid, a health care benefit program affecting commerce, as defined by Title 18, United

States Code, Section 24(b), by submitting and causing the submission of claims for dental

services under fraudulently obtained Medicaid contracts, and by falsely asserting that

credentialed dentists had rendered service as required for payment, each a separate count in this

indictment

Count    Date Claim             Patient         Approx.     Service         Defendant(s)
         Received by MCO                        Amount      Address on
                                                Billed      Claim
10       February 2, 2018       Patient #7      $1,200      1247 Cedar      BHASKAR SAVANI,
                                                            Crest Blvd.,    a/k/a “Dr. B,”
                                                            Ste. 300,       ARUN SAVANI
                                                            Allentown,      ALEKSANDRA
                                                            PA              RADOMIAK,
                                                                            a/k/a “Ola”


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Count   Date Claim          Patient       Approx.   Service         Defendant(s)
        Received by MCO                   Amount    Address on
                                          Billed    Claim
11      March 22, 2018      Patient #8    $6,500    6100 N. 5th     BHASKAR SAVANI,
                                                    St.,            a/k/a “Dr. B”
                                                    Philadelphia,   ARUN SAVANI
                                                    PA              AMEN DHYLLON,
                                                                    a/k/a “Dr. Amen”
12      July 27, 2018       Patient #9    $400      1815 Schadt     BHASKAR SAVANI,
                                                    Ave.,           a/k/a “Dr. B”
                                                    Whitehall,      ARUN SAVANI
                                                    PA              ALEKSANDRA
                                                                    RADOMIAK,
                                                                    a/k/a “Ola”
13      April 2, 2018       Patient #10   $1,200    8 Ponds         BHASKAR SAVANI,
                                                    Edge Dr.,       a/k/a “Dr. B”
                                                    Ste. 2,         ARUN SAVANI
                                                    Chadds Ford,
                                                    PA
14      April 9, 2018       Patient #11   $350      1500            NIRANJAN SAVANI,
                                                    Horizon         a/k/a “Nin”
                                                    Drive,
                                                    Ste. 104,
                                                    Chalfont, PA
15      April 13, 2018      Patient #12   $150      1500            NIRANJAN SAVANI,
                                                    Horizon         a/k/a “Nin”
                                                    Drive,
                                                    Ste. 104,
                                                    Chalfont, PA
16      April 23, 2018      Patient #13   $1,300    356             BHASKAR SAVANI,
                                                    Woodland        a/k/a “Dr. B”
                                                    Ave.,           ARUN SAVANI
                                                    Morton, PA
17      November 14, 2018   Patient #14   $1,150    60 W.           BHASKAR SAVANI,
                                                    Walnut St.,     a/k/a “Dr. B”
                                                    Ste. 101,       ARUN SAVANI
                                                    Lancaster,      AMEN DHYLLON,
                                                    PA              a/k/a “Dr. Amen”
18      January 10, 2019    Patient #15   $500      301 E. City     BHASKAR SAVANI,
                                                    Ave, Ste.       a/k/a “Dr. B”
                                                    255, Bala       ARUN SAVANI
                                                    Cynwyd, PA      AMEN DHYLLON,
                                                                     a/k/a “Dr. Amen”



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Count   Date Claim            Patient        Approx.     Service         Defendant(s)
        Received by MCO                      Amount      Address on
                                             Billed      Claim
19      February 4, 2019      Patient #16    $350        1000 S.         NIRANJAN SAVANI,
                                                         Easton Road,    a/k/a “Nin”
                                                         Ste. 315,
                                                         Wyncote, PA
20      August 13, 2019       Patient #17    $6,500      301 E. City     BHASKAR SAVANI,
                                                         Ave, Ste.       a/k/a “Dr. B”
                                                         255, Bala       ARUN SAVANI
                                                         Cynwyd, PA      AMEN DHYLLON,
                                                                          a/k/a “Dr. Amen”
21      May 21, 2020          Patient #18    $6,500      301 E. City     BHASKAR SAVANI,
                                                         Ave, Ste.       a/k/a “Dr. B”
                                                         255, Bala       ARUN SAVANI
                                                         Cynwyd, PA      AMEN DHYLLON,
                                                                         a/k/a “Dr. Amen”

22      November 11, 2020     Patient #19    $500        456 School      BHASKAR SAVANI,
                                                         Lane, Ste.      a/k/a “Dr. B”
                                                         104,            ARUN SAVANI
                                                         Harleysville,   AMEN DHYLLON,
                                                         PA              a/k/a “Dr. Amen”
23      May 31, 2021          Patient #20    $2,900      2230 N. 5th     BHASKAR SAVANI,
                                                         Street Hwy.,    a/k/a “Dr. B”
                                                         Ste. 104,       ARUN SAVANI
                                                         Reading, PA     AMEN DHYLLON,
                                                                         a/k/a “Dr. Amen”
24      November 18, 2021     Patient #21    $2,900      60 W.           BHASKAR SAVANI,
                                                         Walnut St.,     a/k/a “Dr. B”
                                                         Ste.101,        ARUN SAVANI
                                                         Lancaster,      AMEN DHYLLON,
                                                         PA               a/k/a “Dr. Amen”

             All in violation of Title 18, United States Code, Section 1347 and 2.




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                                     COUNT TWENTY-FIVE
                            MONEY LAUNDERING CONSPIRACY
                                   18 U.S.C. § 1956(h)

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Paragraphs 3 through 6, 8, 9 and 86-101 of Count One are incorporated

here.

               2.      From on or about January 1, 2013 through at least on or about May 31,

2018, the exact dates being unknown to the grand jury, in the Eastern District of Pennsylvania

and elsewhere, defendants

                                       BHASKAR SAVANI,
                                           a/k/a “Dr. B,”
                                         ARUN SAVANI,
                                          SUNIL PHILIP,
                                     a/k/a “A. Philipose,” and
                                       AMEN DHYLLON,
                                         a/k/a “Dr. Amen”

knowingly and intentionally conspired and agreed, together with others, known and unknown to

the grand jury, to commit offenses against the United States in violation of Title 18, United

States Code, Sections 1956 and 1957, that is:

                       a.      to knowingly conduct and attempt to conduct financial transactions

affecting interstate commerce and foreign commerce, which transactions involved the proceeds

of specified unlawful activity, that is, health care fraud, in violation of Title 18, United States

Code, Sections 1347 and 1349, knowing that the transactions were designed in whole and in part

to conceal and disguise the nature, location, source, ownership, and control of the proceeds of

specified unlawful activity, and that while conducting and attempting to conduct such financial

transactions, knew that the property involved in the financial transactions represented the
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proceeds of some form of unlawful activity, in violation of Title 18, United States Code, Section

1956(a)(1)(B)(i); and

                        b.     to knowingly engage and attempt to engage, in monetary

transactions by, through and to a financial institution, affecting interstate and foreign commerce,

in criminally derived property of a value greater than $10,000, such property having been

derived from a specified unlawful activity, that is, health care fraud, in violation of Title 18,

United States Code, Section 1957.

                                     MANNER AND MEANS

               3.       Paragraph 17(d) of Count One is incorporated here.

               All in violation of 18 U.S.C. § 1956(h).




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                     COUNTS TWENTY-SIX THROUGH THIRTY-FOUR

                      LAUNDERING OF MONETARY INSTRUMENTS
                            and AIDING AND ABETTING
                           18 U.S.C. §§ 1956(a)(1)(B)(i) and 2

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Paragraphs 3 through 6, 86, and 88 through 101 of Count One are

incorporated here.

               2.      On or about the dates set forth below, in the Eastern District of

Pennsylvania, and elsewhere, defendants

                                      BHASKAR SAVANI,
                                       a/k/a “Dr. B,” and
                                        ARUN SAVANI

knowingly conducted and attempted to conduct the following financial transactions affecting

interstate and foreign commerce, which involved the proceeds of specified unlawful activity, that

is health care fraud, in violation of Title 18, United States Code, Sections 1347 and 1349,

knowing that the transaction was designed in whole and in part to conceal and disguise, the

nature, location, source, ownership, and control of the proceeds of said specified unlawful

activity and that while conducting and attempting to conduct such financial transactions, the

defendants knew that the property involved in the financial transactions, represented the

proceeds of some form of unlawful activity, each constituting a separate count in this indictment:

Count       Date                  Transaction                                      Amount
26          February 9, 2018      Transfer from Smilekrafters Dental LLC           $137,534.53
                                  account ending in 4905 into United
                                  Dentistry PC account ending in 4947
27          February 9, 2018      Transfer from United Dentistry PC account        $137,534.53
                                  ending in 4947 into American Dental
                                  Management PC account ending in 6481

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Count     Date                 Transaction                                     Amount

28        February 16, 2018    Transfer from Advantage Dental PC               $86,000.00
                               account ending in 4880 into United
                               Dentistry PC account ending in 4947
29        February 16, 2018    Transfer from United Dentistry PC account       $86,000.00
                               ending in 4947 into American Dental
                               Management PC account ending in 6481
30        March 23, 2018       Transfer from Faces & Braces Inc. account       $122,454.75
                               ending in 4939 into American Dental
                               Management PC account ending in 6481
31        March 23, 2018       Transfer from American Dental                   $500,000.00
                               Management PC account ending in 6481
                               into American Dental Management Group
                               LLC account ending in 6499
32        May 11, 2018         Transfer from Smilekrafters Dental LLC          $124,049.35
                               account ending in 4905 into United
                               Dentistry PC account ending in 4947
33        May 11, 2018         Transfer from Advantage Dental PC               $92,705.90
                               account ending in 4880 into United
                               Dentistry PC account ending in 4947
34        May 11, 2018         Transfer from United Dentistry PC account       $216,755.25
                               ending in 4947 into American Dental
                               Management PC account ending in 6481

            All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i), and 2.




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                    COUNTS THIRTY-FIVE THROUGH THIRTY-SEVEN


                     MONETARY TRANSACTIONS WITH PROCEEDS
                       OF SPECIFIED UNLAWFUL ACTIVITY and
                              AIDING AND ABETTING
                                18 U.S.C. §§ 1957 and 2

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Paragraphs 3 through 6, and 87 of Count One are incorporated here.

               2.      On or about the dates set forth below, in the Eastern District of

Pennsylvania, and elsewhere, defendants

                                      BHASKAR SAVANI,
                                       a/k/a “Dr. B,” and
                                        ARUN SAVANI

knowingly engaged and attempted to engage in the following monetary transactions by, through,

or to a financial institution, affecting interstate and foreign commerce, in criminally derived

property of a value greater than $10,000, that is the transfer of U.S. currency, such property

having been derived from a specified unlawful activity, that is, health care fraud, in violation of

Title 18, United States Code, Sections 1347 and 1349, each a separate count in this indictment:

 Count      Date                       Monetary Transaction

 35         February 23, 2018          Transfer of $149,303.62 from Smilekrafters Dental LLC account
                                       ending in 4905 to United Dentistry PC account ending in 4947
 36         March 30, 2018             Transfer of $39,452.74 from Advantage Dental PC account
                                       ending in 4880 to United Dentistry PC account ending in 4947
 37         April 27, 2018             Transfer of $143,562.58 from Faces & Braces Inc account
                                       ending in 4939 to American Dental Management PC account
                                       ending in 6481

               All in violation of Title 18, United States Codes, Sections 1957 and 2.




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                                      COUNT THIRTY-EIGHT

               CONSPIRACY TO DEFRAUD THE UNITED STATES TREASURY
                                 18 U.S.C. § 371

THE GRAND JURY FURTHER CHARGES THAT:

              1.      From on or about January 1, 2013, through on or about April 15, 2018, in

the Eastern District of Pennsylvania, defendants

                                    BHASKAR SAVANI,
                                        a/k/a “Dr. B,”
                                       ARUN SAVANI,
                                    NIRANJAN SAVANI,
                                       a/k/a “Nin,” and
                                       SUNIL PHILIP,
                                     a/k/a “A. Philipose,”

conspired and agreed, together and with others, both known and unknown to the grand jury, to

defraud the United States, by knowingly impeding, impairing, obstructing, and defeating the

lawful government functions of the Internal Revenue Service of the Department of the Treasury

in the ascertainment, computation, assessment, and collection of the revenue: namely, personal

income taxes and payroll taxes.

                                  Parties, Persons, and Entities

              2.      Paragraphs 3 through 8, 11 and 12 of Count One are incorporated herein.

                                   MANNER AND MEANS

              It was part of the conspiracy that:

              3.      Paragraphs 102 through 114 of Count One are incorporated herein.

              4.      As part of their scheme, defendants BHASKAR SAVANI, ARUN

SAVANI and NIRANJAN SAVANI used an unreported cash payroll for some employees, and

paid portions of other employees’ salaries through cash, fake expense reimbursements, and other


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unreported forms of income.

               5.     At the direction of defendant ARUN SAVANI, maintenance and

construction workers for the SAVANI GROUP were paid in cash, and Person #1 and Person #2

were paid a portion of their salaries in cash. The cash for maintenance and construction workers

was provided to defendant BHARATKUMAR PARASANA, charged elsewhere in this

indictment, on a weekly basis to pay the maintenance and construction workers. SAVANI

GROUP employees working with Person #1 were directed by defendant ARUN SAVANI,

through Person #1, to classify the cash payroll payments as a “construction expense” in internal

accounting records.

               6.     The cash used to pay the cash payroll to the maintenance and construction

workers was skimmed from the cash “daily receipts” collected from SAVANI GROUP dental

practices on a weekly basis. The unreported cash “daily receipts” were kept in a file cabinet in

the office of Person #1 at the SAVANI GROUP’s Fort Washington corporate headquarters. This

unreported cash was dispensed, at the direction of defendants BHASKAR SAVANI, ARUN

SAVANI, and NIRANJAN SAVANI, not only for the maintenance and construction worker cash

payroll, but also to pay portions of other employee salaries in cash, and whenever needed as

spending money for defendants BHASKAR SAVANI, ARUN SAVANI, NIRANJAN SAVANI

and their wives and children.

               7.     Person #1 and Person #2, among other employees and associates of the

Enterprise (as described in Count One), were paid a portion of their salaries as payments made

by checks written directly to schools or daycare centers for their children. These payments were

then expensed through SAVANI GROUP companies including, but not limited to, AAA

Dentalab LLC, ADMG LLC, and ADM PC.

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               8.      Other unreported salary payments were made to Person #1 and Person #2,

among other employees and associates of the Enterprise, through fictitious reimbursements for

office supplies and other office expenses. Upon the advice of defendant SUNIL PHILIP, some

employees and associates of the Enterprise had relatives create corporate entities to receive the

fictitious reimbursement checks to reduce the risk of the fictitious payments being exposed for

what they were (unreported income) if the employees or company were ever audited by the

Internal Revenue Service.

               9.      Defendants BHASKAR SAVANI and ARUN SAVANI met annually with

the employees and associates of the Enterprise who had the off-books salary arrangement to

determine what portion of their salary would be paid off-books in the coming year and to explain

how the salary payments would be disguised and paid. As a result of this scheme, the SAVANI

GROUP failed to report approximately $1.7 million in wages, causing a payroll tax loss of

approximately $500,000.

                                             OVERT ACTS

               1.      Overt Acts 62 through 65 of Count One are incorporated herein.

               2.      On or about January 19, 2018, defendants BHASKAR SAVANI, ARUN

SAVANI, and NIRANJAN SAVANI caused an Internal Revenue Service Form 941 Employer’s

Quarterly Tax Return for ADMG LLC to be electronically submitted to the Internal Revenue

Service.

               All in violation of Title 18, United States Code, Section 371.




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                        COUNTS THIRTY-NINE THROUGH FORTY-ONE

                                         WIRE FRAUD and
                                      AIDING AND ABETTING
                                       18 U.S.C. §§ 1343 and 2

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Paragraphs 3 through 8 of Count One are incorporated herein.

               2.      From on or about January 1, 2017 to on or about April 15, 2018,

defendants

                                     BHASKAR SAVANI,
                                         a/k/a “Dr. B,”
                                        ARUN SAVANI,
                                     NIRANJAN SAVANI,
                                        a/k/a “Nin,” and
                                        SUNIL PHILIP,
                                      a/k/a “A. Philipose,”

devised and intended to devise a scheme to defraud the United States and the Department of the

Treasury and to obtain money and property by means of false and fraudulent pretenses,

representations and promises.

                                    MANNER AND MEANS

               It was part of the scheme that:

               3.      Paragraphs and 102 through 111, and 112(e) of Count One are

incorporated herein.

               4.      On or about each of the dates set forth below, in the Eastern District of

Pennsylvania, the defendants described below, for the purpose of executing the scheme described

above, and attempting to do so, and aiding and abetting its execution, caused to be transmitted by



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means of wire communication in interstate commerce the signals and sounds described below for

each count, each transmission constituting a separate count:

  Count       Date               Description                       Defendants

  39          April 4, 2018      Electronic submission of          BHASKAR SAVANI,
                                 defendant BHASKAR                 a/k/a “Dr. B”
                                 SAVANI’s Form 1040                SUNIL PHILIP,
                                 personal income tax return        a/k/a “A. Philipose”
                                 through a server in
                                 Martinsburg, West Virginia or
                                 Memphis, Tennessee.
  40          April 4, 2018      Electronic submission of          ARUN SAVANI
                                 defendant ARUN SAVANI’s           SUNIL PHILIP,
                                 Form 1040 personal income         a/k/a “A. Philipose”
                                 tax return through a server in
                                 Martinsburg, West Virginia or
                                 Memphis, Tennessee.
  41          April 4, 2018      Electronic submission of          NIRANJAN SAVANI,
                                 defendant NIRANJAN                a/k/a “Nin”
                                 SAVANI’s Form 1040                SUNIL PHILIP,
                                 personal income tax return        a/k/a “A. Philipose”
                                 through a server in
                                 Martinsburg, West Virginia or
                                 Memphis, Tennessee.

               All in violation of Title 18, United States Code, Sections 1343 and 2.




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                                         COUNT FORTY-TWO

          CONSPIRACY TO DISTRIBUTE AN ADULTERATED AND MISBRANDED
                  MEDICAL DEVICE IN INTERSTATE COMMERCE
                                18 U.S.C. § 371

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.       Paragraphs 5, 7, and 115 through 129 of Count One are incorporated herein.

               2.       Defendant JON JULIAN began working for the SAVANI GROUP in or

about 2016. Defendant JULIAN was a partner in SAVANI GROUP dental practices in South

Carolina, and a frequent lecturer at the SAVANI GROUP’s dental education center, called The

Dental Future Center.

               3.       From in or about September 2016 through at least in or about January 2019,

in the Eastern District of Pennsylvania and elsewhere, defendants

                                      BHASKAR SAVANI,
                                         a/k/a “Dr. B,”
                                      NIRANJAN SAVANI,
                                        a/k/a “Nin,” and
                                         JON JULIAN

conspired and agreed, together with others known and unknown to the grand jury, to commit

offenses against the United States with the intent to defraud or mislead, by introducing into

interstate commerce an adulterated and misbranded medical device, the prototype/sample

“Engage” dental implant, for use in patients, when the prototype sample “Engage” implant had

not received clearance by the United States Food and Drug Administration for that intended use,

and when the label for the prototype/sample “Engage” dental implant bore a warning that the

device was “NOT FOR HUMAN USE,” in violation of Title 21, United States Code, Sections

331(a) and 333(a)(1).

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                                    MANNER AND MEANS

               It was part of the conspiracy that:

               4.       Paragraphs 130 through 183 of Count One are incorporated herein.

                                             OVERT ACTS

               In furtherance of the conspiracy, defendants BHASKAR SAVANI, NIRANJAN

SAVANI, and JON JULIAN, and others known and unknown to the grand jury, committed the

following Overt Acts in the Eastern District of Pennsylvania and elsewhere:

               1.       Overt Acts 66 through 72 of Count One are incorporated herein.

               2.       On or about June 11, 2018, defendant JON JULIAN placed one Osseolink

“Engage” prototype/sample dental implant labeled “NOT FOR HUMAN USE” into Patient #4;

and three Osseolink “Engage” prototype/sample dental implants labeled “NOT FOR HUMAN

USE” into Patient #5.

               3.       On or about September 25, 2018, defendant JON JULIAN placed one

Osseolink “Engage” prototype/sample dental implant labeled “NOT FOR HUMAN USE” into

Patient #6.

               4.       After defendant JON JULIAN had a conversation with Person #8 and

Person #11 about how the prototype/sample “Engage” dental implant’s box was labeled “NOT

FOR HUMAN USE,” defendant JULIAN continued to place the unapproved implant into

patients, including on or about the dates below, each an overt act in this indictment:


  Overt Act               Date                        Patient

  5                       September 25, 2018          Patient #6
  6                       October 3, 2018             Patient #22
  7                       October 8, 2018             Patient #23
  8                       October 11, 2018            Patient #24
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Overt Act            Date                         Patient
9                    October 17, 2018             Patient #24

            All in violation of Title 18, United States Code, Section 371.




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                                NOTICE OF FORFEITURE NO. 1

THE GRAND JURY FURTHER CHARGES THAT:

                1.      As a result of the violation of Title 18, United States Code, Section 1962,

set forth in this indictment, defendants

                                     BHASKAR SAVANI,
                                         a/k/a “Dr. B,”
                                        ARUN SAVANI
                                     NIRANJAN SAVANI,
                                        a/k/a “Nin,” and
                                        SUNIL PHILIP,
                                      a/k/a “A. Philipose,”
                                      AMEN DHYLLON,
                                     a/k/a “Dr. Amen,” and
                                  ALEKSANDRA RADOMAIK,
                                           a/k/a “Ola”

shall forfeit to the United States:

                 (a)    any interest acquired and maintained in violation of Title 18, United States

                        Code, Section 1962;

                 (b)    any interest in, security of, claims against, or property or contractual rights

                        of any kind which afford a source of influence over, any enterprise which

                        the defendants established, operated, controlled, conducted, and

                        participated in the conduct of, in violation of Title 18, United States Code,

                        Section 1962, including, but not limited to, the following:

                                (i)     401 Commerce Dr., Ft. Washington, PA;

                                (ii)    600 W. Olney Ave., Philadelphia, PA;

                                (iii)   1901 Union Blvd., Allentown, PA;

                                (iv)    1903 Union Blvd., Allentown, PA;

                                (v)     744 Route 113, Souderton, PA;

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                             (vi)    430 Babylon Rd., Horsham, PA;

                             (vii)   432 Babylon Rd., Horsham, PA;

                             (viii) 3554 Hulmeville Rd. Units G, J, M, Bensalem, PA;

                             (ix)    900 Wadsworth Ave., Philadelphia, PA;

                             (x)     5000 Hilltop Dr., Brookhaven, PA;

                             (xi)    402 Middletown Blvd., Unit B-1, Langhorne, PA;

                             (xii)   7234 Rising Sun Ave., Philadelphia, PA;

                             (xiii) 4730 SW 9th St., Des Moines, IA; and

                             (xiv)   1354 E. Ovid Ave., Des Moines, IA; and

               (c)   any property constituting or derived from proceeds obtained, directly and

                     indirectly, from such racketeering activity, in violation of Title 18, United

                     States Code, Section 1962, including, but not limited to the sum of

                     $82,000,000.

              2.     If any property described above, as a result of any act or omission of the

defendants:

              (a)    cannot be located upon the exercise of due diligence;

              (b)    has been transferred or sold to, or deposited with, a third party;

              (c)    has been placed beyond the jurisdiction of the Court;

              (d)    has been substantially diminished in value; or

              (e)    has been comingled with other property which cannot be divided

              without difficulty,




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it is the intent of the United States, pursuant to Title 18, United States Code, Section 1963(m), to

seek forfeiture of any other property of the defendants up to the value of the property subject to

forfeiture, including, but not limited to the following

                       (i)     8539 Bustleton Ave., Philadelphia, PA;

                       (ii)    5 Devonshires Ct., Blue Bell, PA;

                       (iii)   1500 Horizon Dr., Unit B-1, Chalfont, PA;

                       (iv)    115 Jonathan Drive, North Wales, PA;

                       (v)     832 Paradise Dr., Ambler, PA;

                       (vi)    288 Running Water Ct., Ambler, PA;

                       (vii)   1293 Savani Circle, Horsham, PA;

                       (viii) 1294 Savani Circle, Horsham, PA;

                       (ix)    1295 Savani Circle, Horsham, PA;

                       (x)     1296 Savani Circle, Horsham, PA;

                       (xi)    87 Chestnut Lane, North Wales, PA;

                       (xii)   456 School Lane, Harleysville, PA; and

                       (xiii) 1330 Ala Moana Blvd., Unit 2008 Honolulu, HI.

               All pursuant to Title 18, United States Code, Section 1963.




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                                NOTICE OF FORFEITURE NO. 2

THE GRAND JURY FURTHER CHARGES THAT:

                1.      As a result of the violations of Title 18, United States Code, Sections 1546

and 371, charging conspiracy to violate Title 18, United States Code, Section 1546, set forth in

this indictment, defendants

                                     BHASKAR SAVANI,
                                        a/k/a “Dr. B,”
                                       ARUN SAVANI
                                     NIRANJAN SAVANI,
                                       a/k/a “Dr. Nin,”
                                       VIVEK SAVANI
                                 BHARATKUMAR PARASANA
                                       a/k/a “Kumar,”
                                 HITESHKUMAR GOYANI and
                                      PIYUSHA PATEL

shall forfeit to the United States:

                (a)     any conveyance, including any vessel, vehicle, or aircraft used in the

                        commission of such violations;

                (b)     any property real or personal that constitutes, or is derived from or is

                        traceable to the proceeds obtained directly or indirectly from the

                        commission of such violations, including, but not limited to, the sum of

                        $400,000; and

                (c)     any property real or personal that is used to facilitate, or is intended to be

                        used to facilitate, the commission of such violations.

                2.      If any property described above, as a result of any act or omission of the

defendants:

                (a)     cannot be located upon the exercise of due diligence.


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               (b)     has been transferred or sold to, or deposited with, a third party;

               (c)     has been placed beyond the jurisdiction of the Court;

               (d)     has been substantially diminished in value; or

               (e)     has been comingled with other property which cannot be divided

               without difficulty,

it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property subject to forfeiture.

               All pursuant to Title 18, United States Code, Section 982(a)(6).




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                               NOTICE OF FORFEITURE NO. 3

THE GRAND JURY FURTHER CHARGES THAT:

               1.      As a result of the violations of Title 18, United States Code, Sections 1347

and 1349, set forth in this indictment, defendants

                                     BHASKAR SAVANI,
                                         a/k/a “Dr. B,”
                                        ARUN SAVANI
                                     NIRANJAN SAVANI,
                                        a/k/a “Dr. Nin,”
                                      AMEN DHYLLON,
                                     a/k/a “Dr. Amen,” and
                                  ALEKSANDRA RADOMIAK,
                                           a/k/a “Ola”

shall forfeit to the United States any property, real or personal, that constitutes or is derived,

directly or indirectly, from gross proceeds traceable to such violations, including, but not limited

to, the sum of $84,000,000.

               2.      If any property described above, as a result of any act or omission of the

defendants:

               (a)     cannot be located upon the exercise of due diligence;

               (b)     has been transferred or sold to, or deposited with, a third party;

               (c)     has been placed beyond the jurisdiction of the Court;

               (d)     has been substantially diminished in value; or

               (e)     has been comingled with other property which cannot be divided

               without difficulty,

it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b),




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incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property subject to forfeiture.

               All pursuant to Title 18, United States Code, Section 982(a)(7).




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                               NOTICE OF FORFEITURE NO. 4

THE GRAND JURY FURTHER CHARGES THAT:

               1.      As a result of the violations of Title 18, United States Code, Section 1343,

set forth in this indictment, defendants

                                      BHASKAR SAVANI,
                                          a/k/a “Dr. B,”
                                         ARUN SAVANI
                                      NIRANJAN SAVANI,
                                         a/k/a “Dr. Nin,”
                                         SUNIL PHILIP,
                                       a/k/a “A. Philipose”

shall forfeit to the United States any property, real or personal, that constitutes or is derived from

proceeds traceable to such violations, including, but not limited to, the sum of $927,422.

               2.      If any property described above, as a result of any act or omission of the

defendants:

               (a)     cannot be located upon the exercise of due diligence;

               (b)     has been transferred or sold to, or deposited with, a third party;

               (c)     has been placed beyond the jurisdiction of the Court;

               (d)     has been substantially diminished in value; or

               (e)     has been comingled with other property which cannot be divided

               without difficulty,

it is the intent of the United States, pursuant to Title 28, United States Code, Section 2461(c),




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incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property subject to forfeiture.

               All pursuant to Title 28, United States Code, Section 2461(c) and Title 18, United

States Code, Section 981(a)(1)(C).




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                               NOTICE OF FORFEITURE NO. 5
THE GRAND JURY FURTHER CHARGES THAT:
                1.     As a result of the violations of Title 18, United States Code, Sections 1956

and 1957, set forth in this indictment, defendants

                                       BHASKAR SAVANI,
                                           a/k/a “Dr. B,”
                                          ARUN SAVANI
                                          SUNIL PHILIP,
                                      a/k/a “A. Philipose” and
                                        AMEN DHYLLON,
                                         a/k/a “Dr. Amen,”

shall forfeit to the United States of America any property, real or personal, involved in such

violations, and any property traceable to such property, including, but not limited to, the sum of

$148,975,000.

                2.     If any property described above, as a result of any act or omission of the

defendants:

                (a)    cannot be located upon the exercise of due diligence;

                (b)    has been transferred or sold to, or deposited with, a third party;

                (c)    has been placed beyond the jurisdiction of the Court;

                (d)    has been substantially diminished in value; or

                (e)    has been comingled with other property which cannot be divided

                without difficulty,

it is the intent of the United States, pursuant to Title 18 United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other




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